     Case 2:19-cv-00617-KJM-AC Document 69-1 Filed 09/30/22 Page 1 of 102


 1    ROB BONTA
      Attorney General of California
 2    R. MATTHEW WISE, State Bar No. 238485
      Supervising Deputy Attorney General
 3    RYAN R. DAVIS
      Deputy Attorney General
 4     1300 I Street, Suite 125
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 7    Attorneys for Defendant Attorney General Rob Bonta

 8

 9                               IN THE UNITED STATES DISTRICT COURT

10                            FOR THE EASTERN DISTRICT OF CALIFORNIA

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12

13
      MARK BAIRD and RICHARD                                    Case No. 2:19-cv-00617-KJM-AC
14    GALLARDO,
                                                            DECLARATION OF R. MATTHEW
15                                              Plaintiffs, WISE IN SUPPORT OF DEFENDANT’S
                                                            OPPOSITION TO PLAINTIFFS’ THIRD
16                    v.                                    MOTION FOR PRELIMINARY
                                                            INJUNCTION
17
      ROB BONTA, in his official capacity as                    Date:           October 21, 2022
18    Attorney General of the State of California,              Time:           10:00 a.m.
      and DOES 1-10,                                            Dept:           3
19                                                              Judge:          Hon. Kimberly J. Mueller
                                              Defendants.
20                                                              Trial Date:   None set
                                                                Action Filed: April 9, 2019
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       Decl. of R. Matthew Wise in Support of Def.’s Opp’n to Pls.’ Third Mot. for Prelim. Inj. (2:19-cv-00617-KJM-AC)
     Case 2:19-cv-00617-KJM-AC Document 69-1 Filed 09/30/22 Page 2 of 102


 1          I, R. Matthew Wise, declare as follows:

 2          1.      I am a Supervising Deputy Attorney General in the California Attorney General’s

 3    Office. I represent Defendant Rob Bonta, in his official capacity as Attorney General of

 4    California, in the above-captioned matter. I have personal knowledge of each fact stated in this

 5    declaration, and if called as a witness I could and would testify competently thereto.

 6          2.      On August 31, 2021, counsel for Defendant deposed Plaintiff Mark Baird. Attached

 7    hereto as Exhibit 1 is a true and correct copy of excerpts from the transcript of Mr. Baird’s

 8    deposition.

 9          3.      On August 31, 2021, counsel for Defendant deposed Plaintiff Richard Gallardo.
10    Attached hereto as Exhibit 2 is a true and correct copy of excerpts from the transcript of Mr.
11    Gallardo’s deposition.
12          4.      Attached hereto as Exhibit 3 is a true and correct copy of a letter from the Shasta
13    County Sheriff-Coroner to Plaintiff Richard Gallardo, dated September 17, 2019, which
14    Defendant obtained from the Shasta County Sheriff-Coroner pursuant to a subpoena duces tecum.
15          5.      Attached hereto as Exhibit 4 is a true and correct copy of “Right-to-Carry Laws and
16    Violent Crime: A Comprehensive Assessment Using Panel Data and a State-Level Synthetic
17    Control Analysis,” by Stanford Law Professor John J. Donohue III, et al., an article published in
18    the April 2019 issue of the Journal of Empirical Legal Studies.
19          6.      Attached hereto as Exhibit 5 is a true and correct copy of “RTC Laws Increase
20    Violent Crime: Moody and Marvell Have Missed the Target,” by Donohue, et al., an article

21    published in the March 2019 issue of Econ Journal Watch.

22          7.      Attached hereto as Exhibit 6 is a true and correct copy of “Easiness of Legal Access

23    to Concealed Firearm Permits and Homicide Rates in the United States,” by Boston University

24    Professor of Public Health Michael Siegel, et al., an article published in the December 2017 issue

25    of the American Journal of Public Health.

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       Decl. of R. Matthew Wise in Support of Def.’s Opp’n to Pls.’ Third Mot. for Prelim. Inj. (2:19-cv-00617-KJM-AC)
     Case 2:19-cv-00617-KJM-AC Document 69-1 Filed 09/30/22 Page 3 of 102


 1          I declare under penalty of perjury that the foregoing is true and correct. Executed on

 2    September 30, 2022, at Sacramento, California.

 3                                                         /s/ R. Matthew Wise
                                                          R. MATTHEW WISE
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       Decl. of R. Matthew Wise in Support of Def.’s Opp’n to Pls.’ Third Mot. for Prelim. Inj. (2:19-cv-00617-KJM-AC)
Case 2:19-cv-00617-KJM-AC Document 69-1 Filed 09/30/22 Page 4 of 102




          EXHIBIT 1
     Case 2:19-cv-00617-KJM-AC Document 69-1 Filed 09/30/22 Page 5 of 102

1                     IN THE UNITED STATES DISTRICT COURT
2                    FOR THE EASTERN DISTRICT OF CALIFORNIA
3                                          --o0o--
4     MARK BAIRD and RICHARD
      GALLARDO,
5
            Plaintiffs,
6
      vs.                                               No. 2:19-cv-00617-KJM-AC
7
      ROB BONTA, in his official
8     capacity as Attorney General
      of the State of California,
9     and DOES 1-10,
10          Defendants.
                                             /
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12
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14                  VIDEOCONFERENCE DEPOSITION OF MARK BAIRD
15                                 August 31, 2021
16
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22    Stenographically Reported by:
23    Janice L. Belcher, CSR No. 12342
24    Job No. 4782562
25    Pages 1 - 41

                                                                         Page 1

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                                Wise Decl. Ex. 1 -001
     Case 2:19-cv-00617-KJM-AC Document 69-1 Filed 09/30/22 Page 6 of 102

1                                        I N D E X

2                                                                    PAGE

3     EXAMINATION BY MR. WISE                                               4

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10                                 E X H I B I T S

11                                                                   PAGE

12    EXHIBIT 1      2/21/19 Letter                                     10

13    EXHIBIT 2      6/20/21 Email                                      22

14    EXHIBIT 3      9/3/18 Letter                                      23

15    EXHIBIT 4      9/3/18 Letter                                      25

16    EXHIBIT 5      8/31/21 Email                                      28

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                                Wise Decl. Ex. 1 -002
     Case 2:19-cv-00617-KJM-AC Document 69-1 Filed 09/30/22 Page 7 of 102

1                    VIDEOCONFERENCE DEPOSITION OF MARK BAIRD
2
3            BE IT REMEMBERED, that pursuant to Notice, and on
4     the 31st day of August, 2021, commencing at the hour of
5     9:02 a.m., Pacific Standard Time, via videoconference
6     before me, JANICE L. BELCHER, a Certified Shorthand
7     Reporter, appeared MARK BAIRD, produced as a witness in
8     said action, and being by me first duly sworn, was
9     thereupon examined as a witness in said cause.
10
11                                             --o0o--
12
13    APPEARANCES VIA VIDEOCONFERENCE:
14    For Plaintiffs:
15                 AMY BELLANTONI
                   Bellantoni Law Firm
16                 2 Overhill Road, Suite 400
                   Scarsdale, New York                  10583
17                 (914)367-0090
                   info@bellantoni-law.com
18
19    For Defendant Attorney General Rob Bonta:
20                 R. MATTHEW WISE
                   Deputy Attorney General
21                 1300 I Street, Suite 125
                   P.O. Box 944255
22                 Sacramento, California                  94244
                   (916)210-6046
23                 matthew.wise@doj.ca.gov
24    Also Present:
25                 RICHARD GALLARDO

                                                                   Page 3

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                                Wise Decl. Ex. 1 -003
     Case 2:19-cv-00617-KJM-AC Document 69-1 Filed 09/30/22 Page 8 of 102

1                                      MARK BAIRD,

2                               sworn as a witness,

3                              testified as follows:

4

5                                      EXAMINATION

6     BY MR. WISE:

7           Q    Good morning.       My name is Matthew Wise.      And I

8     represent the California Attorney General in this case,

9     with which is Baird vs. Bonta.

10               Would you state your full name and spell your

11    last name for the record.

12          A    Mark Allen Baird, B-A-I-R-D.

13          Q    Do you understand that you're testifying here

14    today under the same oath that you would as if you were

15    testifying in a courtroom?

16          A    I do.

17          Q    Have you ever had your deposition taken?

18          A    Yes.

19          Q    And how many times?

20          A    I don't know.

21          Q    Approximately?

22          A    I don't know.

23          Q    So you're familiar with the deposition rules?

24          A    Well, I don't know that I'm familiar with them.

25    I've been on one side of the table before.

                                                                   Page 4

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                                Wise Decl. Ex. 1 -004
     Case 2:19-cv-00617-KJM-AC Document 69-1 Filed 09/30/22 Page 9 of 102

1             A   I asked them to issue me one, and his response
2     generally speaking was that he doesn't -- he does not
3     issue those.        Sheriff Jon Lopey said that to me.            He
4     does not issue open carry permits, and that suggests
5     that he not only does not, but has not.
6             Q   And when did Sheriff Lopey tell you that?
7             A   You know, it's in the email that you have.                  I
8     don't remember the exact date.
9             Q   So that was in written correspondence, is what
10    you're saying?
11            A   Well, I did it verbally as well, and that was
12    prior to his written response.
13            Q   Where was that conversation with Sheriff Lopey
14    that you had?
15            A   You know, it may have been a year or so ago.
16    Like I said before, I don't recall the exact date.                     But
17    indicative in the email that you have, it was prior to
18    that.
19            Q   Okay.     Have you ever applied to the Siskiyou
20    County sheriff for a permit to carry a concealed
21    firearm?
22            A   Of course I have.              You have those records, as
23    well.
24                MR. WISE:     I'm going to stop sharing that for
25    now.

                                                                 Page 13

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                                Wise Decl. Ex. 1 -005
     Case 2:19-cv-00617-KJM-AC Document 69-1 Filed 09/30/22 Page 10 of 102

1      BY MR. WISE:

2            Q     How many times approximately have you applied

3      for a concealed firearm?

4            A     I don't know.       Three, maybe.

5            Q     Do you know approximately when you did so most

6      recently?

7            A     It was 2021.      I believe it was January.

8            Q     What was the result of that application?

9            A     It was successful.

10           Q     Why did you apply?

11           A     Why did I apply?          Because you can be arrested

12     for carrying a firearm if you don't have government

13     permission here.

14           Q     And why did you want government permission to

15     carry a firearm?

16           A     I don't want government permission.          I want to

17     exercise my Second Amendment right, but if you don't ask

18     government permission you can be arrested for carrying

19     your firearm.

20           Q     When you applied, did you need to give a reason

21     for wanting to carry a firearm?

22           A     Of course you do.

23           Q     What was the reason that you gave?

24           A     You know, I don't have that form in front of

25     me, but I believe it was that we haul animals, we have a

                                                                  Page 14

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                                  Wise Decl. Ex. 1 -006
     Case 2:19-cv-00617-KJM-AC Document 69-1 Filed 09/30/22 Page 11 of 102

1      licenses, who are you referring to by "they"?

2            A     Every sheriff in every jurisdiction in

3      California.

4            Q     What are you hoping to achieve through this

5      lawsuit?

6            A     I am hoping to achieve the unpermitted and

7      unrestricted open carry of a loaded firearm in the state

8      of California as guaranteed to me by the Second

9      Amendment of the United States Constitution and

10     Article 3, Section 1 of the California Constitution.

11           Q     Are you seeking the right to carry a firearm

12     openly in public without limitation?

13           A     I didn't say that, without limitation.

14                 MS. BELLANTONI:         Objection.

15                 You can answer.

16                 THE WITNESS:      No, I'm not.

17                 (Technical difficulties.)

18                 THE WITNESS:      Are you talking to me or my

19     attorney?

20                 I think I was finished.

21                 MS. BELLANTONI:         I simply stated, objection.

22                 You can answer.

23                 THE WITNESS:      Okay.         I'll continue then.

24                 We're not asking to carry the firearm in

25     sensitive buildings or sensitive places.                The court, the

                                                                     Page 16

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                                  Wise Decl. Ex. 1 -007
     Case 2:19-cv-00617-KJM-AC Document 69-1 Filed 09/30/22 Page 12 of 102

1      rights that you were just laying out?

2            A    Given that I'm able to carry a firearm

3      concealed?    I'm not sure I understand where you're going

4      with that.

5            Q    You have a license to carry a firearm, correct?

6            A    I have permission from the government today to

7      carry a firearm concealed, and that permission is

8      revocable at any moment in time without any right of

9      appeal by myself, yes.         That could end tomorrow, it

10     could end today.      It could end if you decide to make a

11     phone call after this proceedings and ask the sheriff to

12     determine that I don't have good moral character

13     anymore, and that's why I'm demanding my right as

14     guaranteed under the Constitution.

15                It is not dependent on you or any government

16     official or agency.

17           Q    If it were legal for you to carry a firearm

18     concealed throughout California, would you still be

19     seeking the right to carry openly throughout California?

20           A    It's already legal for me to carry a firearm

21     concealed throughout California with the single

22     exception, I believe, of San Francisco County or parts

23     of certain cities in the Bay Area, and I am still

24     seeking to carry a firearm openly, yes.

25           Q    Why is that?

                                                                  Page 20

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                                 Wise Decl. Ex. 1 -008
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                EXHIBIT 2
     Case 2:19-cv-00617-KJM-AC Document 69-1 Filed 09/30/22 Page 14 of 102

1                      IN THE UNITED STATES DISTRICT COURT
2                     FOR THE EASTERN DISTRICT OF CALIFORNIA
3                                           --o0o--
4      MARK BAIRD and RICHARD
       GALLARDO,
5
             Plaintiffs,
6
       vs.                                               No. 2:19-cv-00617-KJM-AC
7
       ROB BONTA, in his official
8      capacity as Attorney General
       of the State of California,
9      and DOES 1-10,
10           Defendants.
                                              /
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14               VIDEOCONFERENCE DEPOSITION OF RICHARD GALLARDO
15                                  August 31, 2021
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20
21
22     Stenographically Reported by:
23     Janice L. Belcher, CSR No. 12342
24     Job No. 4782562
25     Pages 1 - 45

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                                 Wise Decl. Ex. 2 -001
     Case 2:19-cv-00617-KJM-AC Document 69-1 Filed 09/30/22 Page 15 of 102

1                                         I N D E X

2                                                                     PAGE

3      EXAMINATION BY MR. WISE                                           4

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10                                  E X H I B I T S

11                                                                    PAGE

12     EXHIBIT 1       9/17/19 Letter                                   16

13     EXHIBIT 2       12/20/17 Special Alert Bulletin                  18

14     EXHIBIT 3       9/2/19 Letter                                    20

15     EXHIBIT 4       11/19/19 Letter                                  25

16     EXHIBIT 5       12/11/18 Letter                                  32

17     EXHIBIT 6       2/3/19 Email                                     34

18     EXHIBIT 7       3/13/19 Email                                    35

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                                 Wise Decl. Ex. 2 -002
     Case 2:19-cv-00617-KJM-AC Document 69-1 Filed 09/30/22 Page 16 of 102

1                VIDEOCONFERENCE DEPOSITION OF RICHARD GALLARDO
2
3            BE IT REMEMBERED, that pursuant to Notice, and on
4      the 31st day of August, 2021, commencing at the hour of
5      10:04 a.m., Pacific Standard Time, via videoconference
6      before me, JANICE L. BELCHER, a Certified Shorthand
7      Reporter, appeared RICHARD GALLARDO, produced as a
8      witness in said action, and being by me first duly
9      sworn, was thereupon examined as a witness in said
10     cause.
11                                              --o0o--
12
13     APPEARANCES VIA VIDEOCONFERENCE:
14     For Plaintiffs:
15                  AMY BELLANTONI
                    Bellantoni Law Firm
16                  2 Overhill Road, Suite 400
                    Scarsdale, New York                  10583
17                  (914)367-0090
                    info@bellantoni-law.com
18
19     For Defendant Attorney General Rob Bonta:
20                  R. MATTHEW WISE
                    Deputy Attorney General
21                  1300 I Street, Suite 125
                    P.O. Box 944255
22                  Sacramento, California                  94244
                    (916)210-6046
23                  matthew.wise@doj.ca.gov
24     Also Present:
25                  MARK BAIRD

                                                                    Page 3

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                                 Wise Decl. Ex. 2 -003
     Case 2:19-cv-00617-KJM-AC Document 69-1 Filed 09/30/22 Page 17 of 102

1                                    RICHARD GALLARDO,
2                                  sworn as a witness,
3                                testified as follows:
4
5                                           EXAMINATION
6      BY MR. WISE:
7            Q     Good morning.          My name is Matthew Wise, and I
8      represent the California Attorney General in this case,
9      which is Baird vs. Bonta.
10                 Would you state your full name and spell your
11     last name for the record.
12           A     Richard Jason Gallardo; last name
13     G-A-L-L-A-R-D-O.
14           Q     Do you understand that you're testifying here
15     today under the same oath that you would take if you
16     were testifying in a courtroom?
17           A     Yes.
18           Q     Have you ever had your deposition taken?
19           A     I've had it done a couple of times, yes.
20           Q     Are you familiar with the rules of taking a
21     deposition?
22           A     Vaguely.     It's been a while.
23           Q     When was the last time you were deposed,
24     approximately?
25           A     Oh wow.    It's been so long ago, I don't

                                                                  Page 4

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                                 Wise Decl. Ex. 2 -004
     Case 2:19-cv-00617-KJM-AC Document 69-1 Filed 09/30/22 Page 18 of 102

1            Q    Approximately when did you apply for that?

2            A    Approximately four years, maybe five.

3            Q    Have you ever applied to the Shasta County

4      sheriff for a permit to carry a concealed firearm?

5            A    Yes.

6            Q    How many times?

7            A    Well, I applied once.                  The way it works, you do

8      the application, and then you do renewals every, about

9      two years.

10           Q    Do you know approximately when you did that

11     first application?

12           A    I would be guessing.              I have to go back to my

13     notes which would take a couple minutes.                    But I probably

14     first applied approximately six, seven years ago.                    Maybe

15     eight.

16           Q    Do you know approximately when you last got

17     that license renewed?

18           A    I would have to go back to my notes, which

19     would take me about probably a couple of minutes to

20     answer that question, so I did apply originally.                    I did

21     renewals after that.       I can't answer your questions

22     specifically right at the moment without referring to

23     notes.

24           Q    That's fine.      What was the result of your

25     application to carry a concealed firearm?

                                                                         Page 14

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                                 Wise Decl. Ex. 2 -005
     Case 2:19-cv-00617-KJM-AC Document 69-1 Filed 09/30/22 Page 19 of 102

1            A     It was approved for the sheriff.             I'm assuming

2      we're still talking about Shasta County, it was

3      approved.

4            Q     Yes, that's correct.             Why did you apply for

5      that license?

6            A     At the time, the LEOSA credential was still in

7      flux, so I did not have that LEOSA at the time.                So I

8      wanted the ability to carry a concealed away from my

9      home for my personal protection and my family

10     protection.

11           Q     And when you say "LEOSA," just to be clear for

12     the record, you're referring to L-E-O-S-A; and what does

13     that mean, just so we're clear?

14           A     Federal law passed in 2003, Law Enforcement

15     Officer Safety Act.      It's basically a nationwide

16     concealed carry permit.          It's not a permit though, it's

17     called a credential, but that's what LEOSA is.

18           Q     Some when you were applying for a license in

19     Shasta County, did you need to give a reason for wanting

20     to carry a firearm?

21           A     I did.

22           Q     What was that reason?

23           A     Personal protection.

24           Q     Can you elaborate on why you would need a

25     firearm for personal protection?

                                                                     Page 15

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                                 Wise Decl. Ex. 2 -006
     Case 2:19-cv-00617-KJM-AC Document 69-1 Filed 09/30/22 Page 20 of 102

1            Q    What is it?

2            A    I'm sorry, your question?

3            Q    What is this document?

4            A    This is a document where Sheriff Bosenko

5      revoked my concealed carry permit.                That's what that

6      document is.

7            Q    What is the date of the letter?

8            A    September of 2019.

9            Q    Did Sheriff Bosenko sign this letter?

10           A    It appears so.        I don't know what his original

11     signature looks like, but it looks like his signature

12     there.

13           Q    Let's look at the first paragraph of the

14     letter.    It states that you were terminated from

15     CAL FIRE for bringing a firearm onto state property.                 Is

16     it true that you were terminated from CAL FIRE?

17           A    I was, yes.

18           Q    Was bringing a firearm onto state property the

19     reason that CAL FIRE gave for terminating you?

20           A    Yes.

21           Q    Let's look at the second paragraph of the

22     letter.    It begins by stating that CAL FIRE issued a

23     special alert bulletin as a result of statements that

24     you made; is that right?

25           A    Yeah, we can read this, this document together,

                                                                     Page 17

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                                 Wise Decl. Ex. 2 -007
     Case 2:19-cv-00617-KJM-AC Document 69-1 Filed 09/30/22 Page 21 of 102

1            A    Well, typically, Sean Pasley is the employee

2      at, or was the employee, I don't know if he's still

3      there, Sean Pasley was the employee at the time that

4      normally took care of all the correspondence for

5      Mr. Bosenko regarding these matters.                That's why you see

6      Sean Pasley's name is there.

7            Q    As of today, does your concealed carry permit

8      in Shasta County remain revoked?

9            A    Yes.

10           Q    Are you legally permitted to carry a firearm

11     concealed?

12           A    I am through the LEOSA credential I mentioned

13     earlier.

14           Q    Okay.   Without sharing private conversations

15     with your attorney, would you tell me how you became a

16     plaintiff in this case?

17           A    I don't remember how I heard about the case.                I

18     do listen to Mark Baird quite a bit, he's on our local

19     radio shows quite a bit regarding a lot of patriotic

20     matters.     I may have heard it through him.             I may have

21     seen a social media post, so I can't exactly say how I

22     heard about it.     But once I heard of the case I thought,

23     you know, this is kind of down my alley.                And I

24     discussed it with Mark, and from there, and then I have

25     been at it as a co-plaintiff.

                                                                       Page 27

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                                 Wise Decl. Ex. 2 -008
     Case 2:19-cv-00617-KJM-AC Document 69-1 Filed 09/30/22 Page 22 of 102

1            Q    Do you know or did you know Mr. Baird

2      personally before this lawsuit was filed?

3            A    Yes, I did.

4            Q    And when you're saying that he's on the radio

5      about patriotic matters, could you just describe what

6      you're talking about?

7            A    No.   That's something you need to ask Mr. Baird

8      about.    I don't want to speak for him or about him.           I

9      would rather you ask him about that.

10           Q    I wasn't looking for Mr. Baird's

11     characterization, only what you -- you had used the

12     word, and so I was just trying to understand what you

13     were -- what your understanding is of, of that?

14           A    Well, similar to this lawsuit, sorry to

15     interrupt, similar to this lawsuit, he's fighting for

16     patriotic manners, and that's exactly what this lawsuit

17     is about, and he talks about very similar manners.

18           Q    Can you elaborate on that when you're saying

19     "what this lawsuit is about," what is this lawsuit

20     about?

21           A    I believe it's about the right to carry openly

22     without government permission using the Second Amendment

23     as originally written to keep and bear arms, that's what

24     I believe this lawsuit is about.

25           Q    What are you hoping to achieve through this

                                                                  Page 28

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                                 Wise Decl. Ex. 2 -009
     Case 2:19-cv-00617-KJM-AC Document 69-1 Filed 09/30/22 Page 23 of 102

1      lawsuit?

2            A    I hope to achieve the ability to open carry

3      without government permission; that's what I hope to

4      achieve.

5            Q    Are you seeking the right to carry a firearm

6      openly in public without any limitations?

7            A    There's always going to be limitations, so the

8      question I think -- so the answer to that is going to be

9      no, because there's always going to be limitations,

10     whether they be legal or societal or civil limitations.

11           Q    Would there be any places where you think it

12     would be okay to you not to be able to openly carry a

13     firearm?

14           A    Possibly.    Possibly maybe a courthouse, but

15     there's already armed bailiffs there.                  There's security

16     measures usually in courthouses.                  They're fair.

17     Certainly not entirely adequate, but they're fair.                   So

18     maybe that's an example.

19           Q    Anywhere else that comes to mind?

20           A    Not off the top of my head now, no.

21           Q    Would it be okay to you not to be able to

22     openly carry a firearm when visiting an elementary

23     school?

24           A    So you're asking for my opinion?

25           Q    Yes.

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      Right-to-Carry Laws and Violent Crime:
      A Comprehensive Assessment Using
      Panel Data and a State-Level Synthetic
      Control Analysis
      John J. Donohue, Abhay Aneja, and Kyle D. Weber*


           This article uses more complete state panel data (through 2014) and new statistical tech-
           niques to estimate the impact on violent crime when states adopt right-to-carry (RTC)
           concealed handgun laws. Our preferred panel data regression specification, unlike the sta-
           tistical model of Lott and Mustard that had previously been offered as evidence of crime-
           reducing RTC laws, both satisfies the parallel trends assumption and generates statistically
           significant estimates showing RTC laws increase overall violent crime. Our synthetic control
           approach also finds that RTC laws are associated with 13–15 percent higher aggregate vio-
           lent crime rates 10 years after adoption. Using a consensus estimate of the elasticity of
           crime with respect to incarceration of 0.15, the average RTC state would need to roughly
           double its prison population to offset the increase in violent crime caused by RTC
           adoption.


      I. Introduction
      For two decades, there has been a spirited academic debate over whether “shall-
      issue” concealed carry laws (also known as right-to-carry or RTC laws) have an impor-
      tant impact on crime. The “More Guns, Less Crime” hypothesis originally articulated
      by John Lott and David Mustard (1997) claimed that RTC laws decreased violent



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       crime (possibly shifting criminals in the direction of committing more property
       crime to avoid armed citizens). This research may well have encouraged state legisla-
       tures to adopt RTC laws, arguably making the pair’s 1997 paper in the Journal of
       Legal Studies one of the most consequential criminological articles published in the
       last 25 years.
               The original Lott and Mustard paper as well as subsequent work by John Lott in his
       1998 book More Guns, Less Crime used a panel data analysis to support the theory that
       RTC laws reduce violent crime. A large number of papers examined the Lott thesis, with
       decidedly mixed results. An array of studies, primarily those using the limited data ini-
       tially employed by Lott and Mustard for the period 1977–1992 and those failing to adjust
       their standard errors by clustering, supported the Lott and Mustard thesis, while a host
       of other papers were skeptical of the Lott findings.1
               It was hoped that the 2005 National Research Council report Firearms and Violence:
       A Critical Review (hereafter the NRC Report) would resolve the controversy over the
       impact of RTC laws, but this was not to be. While one member of the committee—James
       Q. Wilson—did partially endorse the Lott thesis by saying there was evidence that mur-
       ders fell when RTC laws were adopted, the other 15 members of the panel pointedly criti-
       cized Wilson’s claim, saying that “the scientific evidence does not support his position.”
       The majority emphasized that the estimated effects of RTC laws were highly sensitive to
       the particular choice of explanatory variables and thus concluded that the panel data evi-
       dence through 2000 was too fragile to support any conclusion about the true effects of
       these laws.
               This article answers the call of the NRC Report for more and better data and
       new statistical techniques to be brought to bear on the issue of the impact of RTC laws
       on crime. First, we revisit the state panel data evidence to see if extending the data for
       an additional 14 years, thereby providing additional crime data for prior RTC states as
       well as on 11 newly adopting RTC states, offers any clearer picture of the causal impact
       of allowing citizens to carry concealed weapons. We distill from an array of different
       panel data regressions for various crime categories for two time periods using two
       major sets of explanatory variables—including our preferred specification (DAW) and
       that of Lott and Mustard (LM)—a subset of regressions that satisfy the critical parallel
       trends assumption. All the statistically significant results from these regressions show
       RTC laws are associated with higher rates of overall violent crime, property crime, or
       murder.
               Second, to address some of the weaknesses of panel data models, we undertake an
       extensive synthetic control analysis in order to present the most complete and robust



       1
        In support of Lott and Mustard (1997), see Lott’s 1998 book More Guns, Less Crime (and the 2000 and 2010 edi-
       tions). Ayres and Donohue (2003) and the 2005 National Research Council report Firearms and Violence: A Critical
       Review dismissed the Lott/Mustard hypothesis as lacking credible statistical support, as did Aneja et al. (2011) (and
       Aneja et al. (2014) further expanding the latter). Moody and Marvell (2008) and Moody et al. (2014) continued to
       argue in favor of a crime-reducing effect of RTC laws, although Zimmerman (2014) and McElroy and Wang
       (2017) find that RTC laws increase violent crime and Siegel et al. (2017) find RTC laws increase murders, as dis-
       cussed in Section III.B.




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     results to guide policy in this area.2 This synthetic control methodology—first introduced
     in Abadie and Gardeazabal (2003) and expanded in Abadie et al. (2010, 2014)—uses a
     matching methodology to create a credible “synthetic control” based on a weighted aver-
     age of other states that best matches the prepassage pattern of crime for each “treated”
     state, which can then be used to estimate the likely path of crime if RTC-adopting states
     had not adopted an RTC law. By comparing the actual crime pattern for RTC-adopting
     states with the estimated synthetic controls in the postpassage period, we derive year-by-
     year estimates for the impact of RTC laws in the 10 years following adoption.3
             To preview our major findings, the synthetic control estimate of the average impact
     of RTC laws across the 33 states that adopt between 1981 and 20074 indicates that violent
     crime is substantially higher after 10 years than would have been the case had the RTC
     law not been adopted. Essentially, for violent crime, the synthetic control approach pro-
     vides a similar portrayal of RTC laws as that provided by the DAW panel data model and
     undermines the results of the LM panel data model. According to the aggregate synthetic
     control models—regardless of whether one uses the DAW or LM covariates—RTC laws
     led to increases in violent crime of 13–15 percent after 10 years, with positive but not sta-
     tistically significant effects on property crime and murder. The median effect of RTC
     adoption after 10 years is 12.3 percent if one considers all 31 states with 10 years worth of
     data and 11.1 percent if one limits the analysis to the 26 states with the most compelling
     prepassage fit between the adopting states and their synthetic controls. Comparing our
     DAW specification findings with the results generated using placebo treatments, we are
     able to reject the null hypothesis that RTC laws have no impact on aggregate violent
     crime.
             The structure of the article proceeds as follows. Section II begins with a discussion
     of the ways in which increased carrying of guns could either dampen crime (by thwarting
     or deterring criminals) or increase crime by directly facilitating violence or aggression by
     permit holders (or others), greatly expanding the loss and theft of guns, and burdening
     the functioning of the police in ways that diminish their effectiveness in controlling
     crime. We then show that a simple comparison of the drop in violent crime from




     2
      Abadie et al. (2014) identify a number of possible problems with panel regression techniques, including the dan-
     ger of extrapolation when the observable characteristics of the treated area are outside the range of the
     corresponding characteristics for the other observations in the sample.

     3
      The accuracy of this matching can be qualitatively assessed by examining the root mean square prediction error
     (RMSPE) of the synthetic control in the pretreatment period (or a variation on this RMSPE implemented in this
     article), and the statistical significance of the estimated treatment effect can be approximated by running a series
     of placebo estimates and examining the size of the estimated treatment effect in comparison to the distribution of
     placebo treatment effects.

     4
      Note that we do not supply a synthetic control estimate for Indiana, even though it passed its RTC law in 1980,
     owing to the fact that we do not have enough pretreatment years to accurately match the state with an appropriate
     synthetic control. Including Indiana as a treatment state, though, would not meaningfully change our results. Simi-
     larly, we do not generate synthetic control estimates for Iowa and Wisconsin (whose RTC laws went into effect in
     2011) or for Illinois (2014 RTC law), because of the limited postpassage data.




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       1977–2014 in the states that have resisted the adoption of RTC laws is almost an order of
       magnitude greater than in RTC-adopting states (a 42.3 percent drop vs. a 4.3 percent
       drop), although a spartan panel data model with only state and year effects reduces the
       differential to 20.2 percent. Section III discusses the panel data results, showing that the
       DAW model indicates that RTC laws have increased violent and property crime, with wea-
       ker evidence that RTC laws increased homicide (but not non-gun homicide) over our
       entire data period, while both the DAW and the LM model provide statistically significant
       evidence that RTC laws have increased murder in the postcrack period.
              The remainder of the article shows that, using either the DAW or LM explanatory
       variables, the synthetic control approach uniformly supports the conclusion that RTC
       laws lead to substantial increases in violent crime. Section IV describes the details of our
       implementation of the synthetic control approach and shows that the mean and median
       estimates of the impact of RTC laws show greater than double-digit increases by the 10th
       year after adoption. Section V provides aggregate synthetic control estimates of the
       impact of RTC laws, and Section VI concludes.



       II. The Impact of RTC Laws: Theoretical
           Considerations and Simple Comparisons
       A. Gun Carrying and Crime

       1. Mechanisms of Crime Reduction

       Allowing citizens to carry concealed handguns can influence violent crime in a number
       of ways, some benign and some invidious. Violent crime can fall if criminals are deterred
       by the prospect of meeting armed resistance, and potential victims or armed bystanders
       may thwart or terminate attacks by either brandishing weapons or actually firing on the
       potential assailants. For example, in 2012, a Pennsylvania concealed carry permit holder
       became angry when he was asked to leave a bar because he was carrying a weapon and, in
       the ensuing argument, he shot two men, killing one, before another permit holder shot
       him (Kalinowski 2012). Two years later, a psychiatric patient in Pennsylvania killed his
       caseworker, and grazed his psychiatrist before the doctor shot back with his own gun,
       ending the assault by wounding the assailant (Associated Press 2014).
              The impact of the Pennsylvania RTC law is somewhat ambiguous in both these
       cases. In the bar shooting, it was a permit holder who started the killing and another who
       ended it, so the RTC law may actually have increased crime. The case of the doctor’s use
       of force is more clearly benign, although the RTC law may have made no difference: a
       doctor who routinely deals with violent and deranged patients would typically be able to
       secure a permit to carry a gun even under a may-issue regime. Only a statistical analysis
       can reveal whether in aggregate extending gun carrying beyond those with a demon-
       strated need and good character, as shall-issue laws do, imposes or reduces overall costs.
              Some defensive gun uses can be socially costly and contentious even if they do avoid a
       robbery or an assault. For example, in 1984, when four teens accosted Bernie Goetz on a
       New York City subway, he prevented an anticipated robbery by shooting all four,




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     permanently paralyzing one.5 In 2010, a Pennsylvania concealed carry holder argued that he
     used a gun to thwart a beating. After a night out drinking, Gerald Ung, a 28-year-old Temple
     University law student, shot a 23-year-old former star lacrosse player from Villanova, Eddie
     DiDonato, when DiDonato rushed Ung angrily and aggressively after an altercation that
     began when DiDonato was bumped while doing chin ups on scaffolding on the street in Phil-
     adelphia. When prosecuted, Ung testified that he always carried his loaded gun when he
     went out drinking. A video of the incident shows that Ung was belligerent and had to be
     restrained by his friends before the dispute became more physical, which raises the question
     of whether his gun carrying contributed to his belligerence, and hence was a factor that pre-
     cipitated the confrontation. Ung, who shot DiDonato six times, leaving DiDonato partially
     paralyzed with a bullet lodged in his spine, was acquitted of attempted murder, aggravated
     assault, and possessing an instrument of crime (Slobodzian 2011). While Ung avoided crimi-
     nal liability and a possible beating, he was still prosecuted and then hit with a major civil
     action, and the incident did impose significant social costs, as shootings frequently do.6
            In any event, the use of a gun by a concealed carry permit holder to thwart a crime
     is a statistically rare phenomenon. Even with the enormous stock of guns in the United
     States, the vast majority of the time that someone is threatened with violent crime no gun
     will be wielded defensively. A five-year study of such violent victimizations in the United
     States found that victims reported failing to defend or to threaten the criminal with a
     gun 99.2 percent of the time—this in a country with 300 million guns in civilian hands
     (Planty & Truman 2013). Adding 16 million permit holders who often dwell in low-crime
     areas may not yield many opportunities for effective defensive use for the roughly 1 per-
     cent of Americans who experience a violent crime in a given year, especially since crimi-
     nals can attack in ways that preempt defensive measures.7

     2. Mechanisms of Increasing Crime

     Since the statistical evidence presented in this article suggests that the benign effects of
     RTC laws are outweighed by the harmful effects, we consider five ways in which RTC laws
     could increase crime: (a) elevated crime by RTC permit holders or by others, which can
     be induced by the greater belligerence of permit holders that can attend gun carrying or
     even through counterproductive attempts by permit holders to intervene protectively;
     (b) increased crime by those who acquire the guns of permit holders via loss or theft;
     (c) a change in culture induced by the hyper-vigilance about one’s rights and the need


     5
      The injury to Darrell Cabey was so damaging that he remains confined to a wheelchair and functions with the
     intellect of an eight-year-old, for which he received a judgment of $43 million against Goetz, albeit without satisfac-
     tion (Biography.com 2016).

     6
      According to the civil lawsuit brought by DiDonato, his injuries included “severe neurological impairment, inabil-
     ity to control his bowels, depression and severe neurologic injuries” (Lat 2012).

     7
      Even big city police officers rarely need to fire a weapon despite their far greater exposure to criminals. According
     to a 2016 Pew Research Center survey of 7,917 sworn officers working in departments with 100 or more officers,
     “only about a quarter (27%) of all officers say they have ever fired their service weapon while on the job” (Morin &
     Mercer 2017).




                                                    Wise Decl. Ex. 4 -005
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       to avenge wrongs that the gun culture can nurture; (d) elevated harm as criminals
       respond to the possibility of armed resistance by increasing their gun carrying and esca-
       lating their level of violence; and (e) all of the above factors will either take up police
       time or increase the risks the police face, thereby impairing the crime-fighting ability of
       police in ways that can increase crime.


       a. Crime committed or induced by permit holders: RTC laws can lead to an increase in violent
       crime by increasing the likelihood a generally law-abiding citizen will commit a crime or increas-
       ing the criminal behavior of others. Moreover, RTC laws may facilitate the criminal conduct of
       those who generally have a criminal intent. We consider these two avenues below.

       i. The pathway from the law-abiding citizen
       Evidence from a nationally representative sample of 4,947 individuals indicates that Ameri-
       cans tend to overestimate their gun-related abilities. For example, 82.6 percent believed
       they were less likely than the average person to use a gun in anger. When asked about their
       “ability to responsibly own a handgun,” 50 percent of the respondents deemed themselves
       to be in the top 10 percent and 23 percent placed their ability within the top 1 percent of
       the U.S. population. Such overconfidence has been found to increase risk taking and could
       well lead to an array of socially harmful consequences ranging from criminal misconduct
       and gun accidents to lost or stolen guns (Stark & Sachau 2016).
               In a number of well-publicized cases, concealed carry permit holders have increased
       the homicide toll by killing someone with whom they became angry over an insignificant
       issue, ranging from merging on a highway and talking on a phone in a theater to playing
       loud music at a gas station (Lozano 2017; Levenson 2017; Scherer 2016). In one particu-
       larly tragic example in January 2019 at a bar in State College, Pennsylvania, a lawful permit
       holder, Jordan Witmer, got into a fight with his girlfriend. When a father and son sitting at
       the bar tried to intervene, Witmer killed both of them, shot his girlfriend in the chest, and
       fled. When his car crashed, Witmer broke into a nearby house, killed the 82-year-old
       homeowner, who was with his wife on their 60th wedding anniversary, and then killed him-
       self (Sauro 2019). Another such example occurred in July 2018 when Michael Drejka
       started to hassle a woman sitting in a car in a disabled parking spot while her husband and
       five-year-old son ran into a store. When the husband emerged, he pushed Drejka to the
       ground, who then killed him with a shot to the chest. The killing is caught on video and
       Drejka is being prosecuted for manslaughter in Clearwater, Florida (Simon 2018).
               When Philadelphia permit holder Louis Mockewich shot and killed a popular
       youth football coach (another permit holder carrying his gun) over a dispute concerning
       snow shoveling in January 2000, Mockewich’s car had an NRA bumper sticker reading
       “Armed with Pride” (Gibbons & Moran 2000). An angry young man, with somewhat of a
       paranoid streak, who has not yet been convicted of a crime or adjudicated as a “mental
       defective,” may be encouraged to carry a gun if he resides in an RTC state.8 That such


       8
        The Gun Control Act of 1968 prohibits gun possession by felons and adjudicated “mental defectives”
       (18 U.S.C. 922(d)(4), 2016).




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     individuals will be more likely to be aggressive once armed and hence more likely to stim-
     ulate violence by others should not be surprising.
            Recent evidence suggests that as gun carrying is increasing with the proliferation of
     RTC laws, road rage incidents involving guns are rising (Biette-Timmons 2017; Plumlee
     2012). Incidents in which “someone in a car brandished a gun in a threatening manner
     or fired a gun at another driver or passenger have more than doubled in the last three
     years, from 247 in 2014 to 620 in 2016 …. The highest-profile recent road rage incidents
     involved two NFL players, Joe McKnight and Will Smith, killed … in separate road rage
     shootings in New Orleans” (Shen 2017).9 In the nightmare case for RTC, two Michigan
     permit-holding drivers pulled over to battle over a tailgating dispute in September 2013
     and each shot and killed the other (Stuart 2013). Without Michigan’s RTC law, this
     would likely have not been a double homicide. Indeed, two studies—one for Arizona and
     one for the nation as a whole—found that “the evidence indicates that those with guns in
     the vehicle are more likely to engage in ‘road rage’” (Hemenway et al. 2006; Miller et al.
     2002).10 These studies may suggest either that gun carrying emboldens more aggressive
     behavior or reflects a selection effect for more aggressive individuals.11 If this is correct,
     then it may not be a coincidence that there are so many cases in which a concealed carry
     holder acts belligerently and is shot by another permit holder.12


     9
      Joe McNight and Ronald Gasser were arguing through their open car windows as they drove for miles. When they
     were both stopped at a red light, McNight walked over to Gasser’s car, and the “two argued through the passenger-
     side window until Gasser pulled a gun from between his seat and the center console and shot McKnight three
     times.” Gasser was convicted of manslaughter and sentenced to a prison term of 30 years (Calder 2018).

     10
       A perfect illustration was provided by 25-year-old Minnesota concealed carry permit holder Alexander Weiss, who
     got into an argument after a fender bender caused by a 17-year-old driver. Since the police had been called, it is
     hard to imagine that this event could end tragically—unless someone had a gun. Unfortunately, Weiss, who had a
     bumper sticker on his car saying “Gun Control Means Hitting Your Target,” killed the 17-year-old with one shot to
     the chest and has been charged with second-degree murder (KIMT 2018).

     11
       While concealed carry permit holders should be free of any felony conviction, and thus show a lower overall rate
     of violence than a group that contains felons, a study in Texas found that when permit holders do commit a crime,
     it tends to be a severe one: “the concentration of convictions for weapons offenses, threatening someone with a
     firearm, and intentionally killing a person stem from the ready availability of a handgun for CHL holders”
     (Phillips et al. 2013). See, for example, a Texas permit holder who told police he shot a man in the head at an
     IHOP restaurant in Galveston because “he was annoyed by the noise the victim and others were making just a table
     away” (ABC News 2018).

     12
       We have just cited three of them: the 2012 Pennsylvania bar shooting, the 2000 Philadelphia snow-shoveling dis-
     pute, and the 2013 Michigan road-rage incident. Here are two more. Former NFL player Will Smith, a concealed
     carry permit holder with a loaded gun in his car, was engaged in a road rage incident with another permit holder,
     who killed him with seven shots in the back and one into his side and shot his wife, hitting both knees. The
     shooter was convicted of manslaughter and sentenced to 25 years in prison (Lane 2018). In yet another recent
     case, two permit holders glowered at each other in a Chicago gas station, and when one drew his weapon, the sec-
     ond man pulled out his own gun and killed the 43-year-old instigator, who died in front of his son, daughter, and
     pregnant daughter-in-law (Hernandez 2017). A video of the encounter can be found at https://www.youtube.
     com/watch?v=I2j9vvDHlBU. According to the police report obtained by the Chicago Tribune, a bullet from the gun
     exchange broke the picture window of a nearby garden apartment and another shattered the window of a car with
     four occupants that was driving past the gas station. No charges were brought against the surviving permit holder,
     who shot first but in response to the threat initiated by the other permit holder.




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              In general, the critique that the relatively low number of permit revocations proves
       that permit holders do not commit enough crime to substantially elevate violent criminal-
       ity is misguided for a variety of reasons. First, only a small fraction of 1 percent of Ameri-
       cans commits a gun crime each year, so we do not expect even a random group of
       Americans to commit much crime, let alone a group purged of convicted felons. None-
       theless, permit revocations clearly understate the criminal misconduct of permit holders,
       since not all violent criminals are caught and we have just seen five cases where six permit
       holders were killed, so no permit revocation or criminal prosecution would have
       occurred regardless of any criminality by the deceased.13 Second, and perhaps more
       importantly, RTC laws increase crime by individuals other than permit holders in a vari-
       ety of ways. The messages of the gun culture, perhaps reinforced by the adoption of RTC
       laws, can promote fear and anger, which are emotions that can invite more hostile con-
       frontations leading to violence. For example, if permit holder George Zimmerman has-
       sled Trayvon Martin only because Zimmerman was armed, then the presence of
       Zimmerman’s gun could be deemed to have encouraged a hostile confrontation, regard-
       less of who ultimately becomes violent.14
              Even well-intentioned interventions by permit holders intending to stop a
       crime have elevated the crime count when they ended with the permit
       holder either being killed by the criminal15 or shooting an innocent party by



       13
         In addition, NRA-advocated state laws that ban the release of information about whether those arrested for even
       the most atrocious crimes are RTC permit holders make it extremely difficult to monitor their criminal conduct.

       14
         Psychologists have found that the very act of carrying a gun tends to distort perceptions of reality in a way that
       exaggerates perceived threats. “We have shown here that … the act of wielding a firearm raises the likelihood that
       nonthreatening objects will be perceived as threats. This bias can clearly be horrific for victims of accidental shoot-
       ings” (Witt & Brockmole 2012). As one permit holder explained: “a gun causes its bearer to see the world differ-
       ently. A well-lit city sidewalk full of innocent pedestrians becomes a scene—a human grouping one of whose
       constituents you might need to shoot. Something good in yourself is, by this means, sacrificed. And more. In a sud-
       den, unwieldy hauling-out of your piece, or just by having your piece in your pocket, you can fumble around and
       shoot yourself, as often happens and isn’t at all funny. Or you might shoot some little girl on a porch across the
       street or two streets away, or five streets away. Lots and lots of untoward things can happen when you’re legally car-
       rying a concealed firearm. One or two of them might turn out to be beneficial—to you. But a majority are benefi-
       cial to neither man nor beast. Boats are said, by less nautical types, always to be seeking a place to sink. Guns—no
       matter who has them—are always seeking an opportunity to go off. Anybody who says different is a fool or a liar or
       both” (Ford 2016).

       15
         In 2016 in Arlington, Texas, a man in a domestic dispute shot at a woman and then tried to drive off (under Texas
       law it was lawful for him to be carrying his gun in his car, even though he did not have a concealed carry permit.)
       When he was confronted by a permit holder, the shooter slapped the permit holder’s gun out of his hand and then
       killed him with a shot to the head. Shortly thereafter, the shooter turned himself into the police (Mettler 2016). Sim-
       ilarly, when armed criminals entered a Las Vegas Walmart in 2014 and told everyone to get out because “[t]his is a
       revolution,” one permit holder told his friend he would stay to confront the threat. He was gunned down shortly
       before the police arrived, adding to the death toll rather than reducing it (NBC News 2014). Finally, in January
       2010, Stephen Sharp arrived at work at a St. Louis power plant just as co-worker Timothy Hendron began firing at
       fellow workers with an AK-47. Retrieving a pistol from his truck, Sharp opened fire at Hendron, and fecklessly dis-
       charged all six rounds from across the parking lot. Unharmed, Hendron returned fire, grievously wounding Sharp
       and continuing his rampage unabated. When the police arrived, there was “no clear distinction between attacker
       and victims.” In the end, Hendron killed three and wounded five before killing himself (Byers 2010).




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     mistake.16 Indeed, an FBI study of 160 active shooter incidents found that in almost half
     (21 of 45) the situations in which police engaged the shooter to end the threat, law
     enforcement suffered casualties, totaling nine killed and 28 wounded (Blair & Schweit
     2014). One would assume the danger to an untrained permit holder trying to confront
     an active shooter would be greater than that of a trained professional, which may in part
     explain why effective intervention in such cases by permit holders to thwart crime is so
     rare. Although the same FBI report found that in 21 of a total of 160 active shooter inci-
     dents between 2000 and 2013, “the situation ended after unarmed citizens safely and suc-
     cessfully restrained the shooter,” there was only one case—in a bar in Winnemucca,
     Nevada in 2008—in which a private armed citizen other than an armed security guard
     stopped a shooter, and that individual was an active-duty Marine (Holzel 2008).

     ii. The pathway from those harboring criminal intent
     Over the 10-year period from May 2007 through January 2017, the Violence Policy Center
     (2017) lists 31 instances in which concealed carry permit holders killed three or more indi-
     viduals in a single incident. Many of these episodes are disturbingly similar in that there was
     substantial evidence of violent tendencies and/or serious mental illness, but no effort was
     made to even revoke the carry permit, let alone take effective action to prevent access to
     guns. For example, on January 6, 2017, concealed handgun permit holder Esteban Santiago,
     26, killed five and wounded six others at the Fort Lauderdale-Hollywood Airport, before sit-
     ting on the floor and waiting to be arrested as soon as he ran out of ammunition. In the year
     prior to the shooting, police in Anchorage, Alaska, charged Santiago with domestic violence,
     and visited the home five times for various other complaints (KTUU 2017). In November
     2016, Santiago entered the Anchorage FBI office and spoke of “mind control” by the CIA
     and having “terroristic thoughts” (Hopkins 2017). Although the police took his handgun at
     the time, it was returned to him on December 7, 2016 after Santiago spent four days in a
     mental health facility because, according to federal officials, “there was no mechanism in fed-
     eral law for officers to permanently seize the weapon”17 (Boots 2017). Less than a month
     later, Santiago flew with his gun to Florida and opened fire in the baggage claim area.18
             In January 2018, the FBI charged Taylor Wilson, a 26-year-old Missouri concealed
     carry permit holder, with terrorism on an Amtrak train when, while carrying a loaded


     16
       In 2012, “a customer with a concealed handgun license … accidentally shot and killed a store clerk” during an
     attempted robbery in Houston (MacDonald 2012). Similarly, in 2015, also in Houston, a bystander who drew his
     weapon upon seeing a carjacking incident ended up shooting the victim in the head by accident (KHOU 2015).
     An episode in June 2017 underscored that interventions even by well-trained individuals can complicate and exac-
     erbate unfolding crime situations. An off-duty Saint Louis police officer with 11 years of service was inside his
     home when he heard the police exchanging gunfire with some car thieves. Taking his police-issued weapon, he
     went outside to help, but as he approached he was told by two officers to get on the ground and then shot in the
     arm by a third officer who “feared for his safety” (Hauser 2017).

     17
       Moreover, in 2012, Puerto Rican police confiscated Santiago’s handguns and held them for two years before
     returning them to him in May 2014, after which he moved to Alaska (Clary et al. 2017).

     18
       For a similar story of repeated gun violence and signs of mental illness by a concealed carry permit holder, see
     the case of Aaron Alexis, who murdered 12 at the Washington Navy Yard in September 2013 (Carter et al. 2013).




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       weapon, he tried to interfere with the brakes and controls of the moving train. According
       to the FBI, Wilson had (1) previously joined an “alt-right” neo-Nazi group and traveled to
       the Unite the Right rally in Charlottesville, Virginia in August 2017; (2) indicated his
       interest in “killing black people” and was the perpetrator of a road-rage incident in which
       he pointed a gun at a black woman for no apparent reason while driving on an interstate
       highway in April 2016; and (3) possessed devices and weapons “to engage in criminal
       offenses against the United States.” Research is needed to analyze whether having a per-
       mit to legally carry weapons facilitates such criminal designs (Pilger 2018).
              In June 2017, Milwaukee Police Chief Ed Flynn pointed out that criminal gangs have
       taken advantage of RTC laws by having gang members with clean criminal records obtain
       concealed carry permits and then hold the guns after they are used by the active criminals
       (Officer.com 2017). Flynn was referring to so-called human holsters who have RTC permits
       and hold guns for those barred from possession. For example, Wisconsin permit holder Darrail
       Smith was stopped three times while carrying guns away from crime scenes before police finally
       charged him with criminal conspiracy. In the second of these, Smith was “carrying three loaded
       guns, including one that had been reported stolen,” but that was an insufficient basis to charge
       him with a crime or revoke his RTC permit (DePrang 2015). Having a “designated permit
       holder” along to take possession of the guns when confronted by police may be an attractive
       benefit for criminal elements acting in concert (Fernandez et al. 2015; Luthern 2015).

       b. Increased gun thefts: The most frequent occurrence each year involving crime and a
       good guy with a gun is not self-defense but rather the theft of the good guy’s gun, which
       occurs hundreds of thousands of times each year.19 Data from a nationally representative
       web-based survey conducted in April 2015 of 3,949 subjects revealed that those who car-
       ried guns outside the home had their guns stolen at a rate over 1 percent per year
       (Hemenway et al. 2017). Given the current level of roughly 16 million permit holders, a
       plausible estimate is that RTC laws result in permit holders furnishing more than 100,000
       guns per year to criminals.20 As Phil Cook has noted, the relationship between gun theft
       and crime is a complicated one for which few definitive data are currently available (Cook


       19
         According to Larry Keane, senior vice president of the National Shooting Sports Foundation (a trade group that
       represents firearms manufacturers): “There are more guns stolen every year than there are violent crimes commit-
       ted with firearms.” More than 237,000 guns were reported stolen in the United States in 2016, according to the
       FBI’s National Crime Information Center. The actual number of thefts is obviously much higher since many gun
       thefts are never reported to police, and “many gun owners who report thefts do not know the serial numbers on
       their firearms, data required to input weapons into the NCIC.” The best survey estimated 380,000 guns were stolen
       annually in recent years, but given the upward trend in reports to police, that figure likely understates the current
       level of gun thefts (Freskos 2017b). According to National Crime Information Center data, the number of guns
       reported stolen nationally jumped 60 percent between 2007 and 2016 (Freskos 2018a).

       20
          While the Hemenway et al. study is not large enough and detailed enough to provide precise estimates, it estab-
       lishes that those who have carried guns in the last month are more likely to have them stolen. A recent Pew
       Research Survey found that 26 percent of American gun owners say they carry a gun outside of their home “all or
       most of the time” (Igielnik & Brown 2017, surveying 3,930 U.S. adults, including 1,269 gun owners). If 1 percent
       of 16 million permit holders have guns stolen each year, that would suggest 160,000 guns were stolen. Only guns
       stolen outside the home would be attributable to RTC laws, so a plausible estimate of guns stolen per year owing
       to gun carrying outside the home might be 100,000.




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     2018). But if there was any merit to the outrage over the loss of about 1,400 guns during the
     Fast and Furious program that began in 2009 and the contribution that these guns made to
     crime (primarily in Mexico), it highlights the severity of the vastly greater burdens of guns
     lost by and stolen from U.S. gun carriers.21 A 2013 report from the Bureau of Alcohol,
     Tobacco, Firearms, and Explosives concluded that “lost and stolen guns pose a substantial
     threat to public safety and to law enforcement. Those that steal firearms commit violent
     crimes with stolen guns, transfer stolen firearms to others who commit crimes, and create an
     unregulated secondary market for firearms, including a market for those who are prohibited
     by law from possessing a gun” (Office of the Director—Strategic Management 2013; Par-
     sons & Vargas 2017).
            For example, after Sean Penn obtained a permit to carry a gun, his car was stolen with
     two guns in the trunk. The car was soon recovered, but the guns were gone (Donohue 2003).
     In July 2015 in San Francisco, the theft of a gun from a car in San Francisco led to a killing of
     a tourist on a city pier that almost certainly would not have occurred if the lawful gun owner
     had not left it in the car (Ho 2015). Just a few months later, a gun stolen from an unlocked
     car was used in two separate killings in San Francisco and Marin in October 2015 (Ho & Wil-
     liams 2015). According to the National Crime Victimization Survey, in 2013 there were over
     660,000 auto thefts from households. More guns being carried in vehicles by permit holders
     means more criminals will be walking around with the guns stolen from permit holders.22
            As Michael Rallings, the top law enforcement official in Memphis, Tennessee, noted in
     commenting on the problem of guns being stolen from cars: “Laws have unintended conse-
     quences. We cannot ignore that as a legislature passes laws that make guns more accessible to
     criminals, that has a direct effect on our violent crime rate” (Freskos 2017a). An Atlanta police
     sergeant elaborated on this phenomenon: “Most of our criminals, they go out each and every
     night hunting for guns, and the easiest way to get them is out of people’s cars. We’re finding
     that a majority of stolen guns that are getting in the hands of criminals and being used to
     commit crimes were stolen out of vehicles” (Freskos 2017c). In 2015, 70 percent of guns
     reported stolen in Atlanta came from cars and trucks (Freskos 2016). Another Atlanta police
     officer stated that weapons stolen from cars “are used in crimes to shoot people, to rob peo-
     ple” because criminals find these guns to be easy to steal and hard to trace. “For them, it
     doesn’t cost them anything to break into a car and steal a gun” (Freskos 2016).23


     21
       “Of the 2,020 guns involved in the Bureau of Alcohol, Tobacco, Firearms, and Explosives probe dubbed ‘Opera-
     tion Fast and Furious,’ 363 have been recovered in the United States and 227 have been recovered in Mexico. That
     leaves 1,430 guns unaccounted for” (Schwarzschild & Griffin 2011). Wayne LaPierre of the NRA was quoted as say-
     ing: “These guns are now, as a result of what [ATF] did, in the hands of evil people, and evil people are commit-
     ting murders and crimes with these guns against innocent citizens” (Horwitz 2011).

     22
      In early December 2017, the sheriff in Jacksonville, Florida announced that his office knew of 521 guns that had
     been stolen so far in 2017—from unlocked cars alone! (Campbell 2017).

     23
       Examples abound: Tario Graham was shot and killed during a domestic dispute in February 2012 with a revolver
     stolen weeks earlier out of pickup truck six miles away in East Memphis (Perrusquia 2017). In Florida, a handgun
     stolen from an unlocked Honda Accord in mid-2014 helped kill a police officer a few days before Christmas that
     year (Sampson 2014). A gun stolen from a parked car during a Mardi Gras parade in 2017 was used a few days later
     to kill 15-year-old Nia Savage in Mobile, Alabama, on Valentine’s Day (Freskos 2017a).




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            Of course, the permit holders whose guns are stolen are not the killers, but they
       can be the but-for cause of the killings. Lost, forgotten, and misplaced guns are another
       dangerous byproduct of RTC laws.24

       c. Enhancing a culture of violence: The South has long had a higher rate of violent crime
       than the rest of the country. For example, in 2012, while the South had about one-
       quarter of the U.S. population, it had almost 41 percent of the violent crime reported to
       police (Fuchs 2013). Social psychologists have argued that part of the reason the South
       has a higher violent crime rate is that it has perpetuated a “subculture of violence” predi-
       cated on an aggrandized sense of one’s rights and honor that responds negatively to per-
       ceived insults. A famous experiment published in the Journal of Personality and Social
       Psychology found that southern males were more likely than northern males to respond
       aggressively to being bumped and insulted. This was confirmed by measurement of their
       stress hormones and their frequency of engaging in aggressive or dominant behavior
       after being insulted (Cohen et al. 1996). To the extent that RTC laws reflect and encour-
       age this cultural response, they can promote violent crime not only by permit holders,
       but by all those with or without guns who are influenced by this crime-inducing
       worldview.
              Even upstanding citizens, such as Donald Brown, a 56-year-old retired Hartford fire-
       fighter with a distinguished record of service, can fall prey to the notion that resort to a law-
       ful concealed weapon is a good response to a heated argument. Brown was sentenced to
       seven years in prison in January 2018 by a Connecticut judge who cited his “poor judgment
       on April 24, 2015, when he drew his licensed 9mm handgun and fired a round into the
       abdomen of Lascelles Reid, 33.” The shooting was prompted by a dispute “over renovations
       Reid was performing at a house Brown owns” (Owens 2018). Once again, we see that the
       RTC permit was the pathway to serious violent crime by a previously law-abiding citizen.

       d. Increasing violence by criminals: The argument for RTC laws is often predicated on the
       supposition that they will encourage good guys to have guns, leading only to benign
       effects on the behavior of bad guys. This is highly unlikely to be true.25 Indeed, the


       24
         The growing TSA seizures in carry-on luggage are explained by the increase in the number of gun carriers who sim-
       ply forget they have a gun in their luggage or briefcase (Williams & Waltrip 2004). A chemistry teacher at Marjory
       Stoneman Douglas High School in Parkland, Florida, who had said he would be willing to carry a weapon to protect
       students at the school, was criminally charged for leaving a loaded pistol in a public restroom. The teacher’s 9mm
       Glock was discharged by an intoxicated homeless man who found it in the restroom (Stanglin 2018).

       25
         Consider in this regard, David Friedman’s theoretical analysis of how right-to-carry laws will reduce violent crime: “Sup-
       pose one little old lady in ten carries a gun. Suppose that one in ten of those, if attacked by a mugger, will succeed in kill-
       ing the mugger instead of being killed by him—or shooting herself in the foot. On average, the mugger is much more
       likely to win the encounter than the little old lady. But—also on average—every hundred muggings produce one dead
       mugger. At those odds, mugging is a very unattractive profession—not many little old ladies carry enough money in their
       purses to justify one chance in a hundred of being killed getting it. The number of muggers—and muggings—declines
       drastically, not because all of the muggers have been killed but because they have, rationally, sought safer professions”
       (Friedman 1990). There is certainly no empirical support for the conjecture that muggings will “decline drastically” in
       the wake of RTC adoption. What Friedman’s analysis overlooks is that muggers can decide not to mug (which is what
       Friedman posits) or they can decide to initiate their muggings by cracking the old ladies over the head or by being




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     evidence that gun prevalence in a state is associated with higher rates of lethal force by
     police (even controlling for homicide rates) suggests that police may be more fearful and
     shoot quicker when they are more likely to interact with an armed individual (Nagin
     forthcoming).26 Presumably, criminals would respond in a similar fashion, leading them
     to arm themselves more frequently, attack more harshly, and shoot more quickly when
     citizens are more likely to be armed. In one study, two-thirds of prisoners incarcerated
     for gun offenses “reported that the chance of running into an armed victim was very or
     somewhat important in their own choice to use a gun” (Cook et al. 2009). Such responses
     by criminals will elevate the toll of the crimes that do occur.
            Indeed, a panel data estimate over the years 1980 to 2016 reveals that the percentage
     of robberies committed with a firearm rises by 18 percent in the wake of RTC adoption (t =
     2.60).27 Our synthetic controls assessment similarly shows that the percentage of robberies
     committed with a firearm increases by 35 percent over 10 years (t = 4.48).28 Moreover, there
     is no evidence that RTC laws are reducing the overall level of robberies: the panel data anal-
     ysis associates RTC laws with a 9 percent higher level of overall robberies (t = 1.85) and the
     synthetic controls analysis suggests a 7 percent growth over 10 years (t = 1.19).


     e. Impairing police effectiveness: According to an April 2016 report of the Council of Eco-
     nomic Advisers: “Expanding resources for police has consistently been shown to reduce
     crime; estimates from economic research suggests that a 10% increase in police size
     decreases crime by 3 to 10%” (CEA 2016:4). In summarizing the evidence on fighting
     crime in the Journal of Economic Literature, Aaron Chalfin and Justin McCrary note that
     adding police manpower is almost twice as effective in reducing violent crime as it is in
     reducing property crime (Chalfin & McCrary 2017). Therefore, anything that RTC laws do
     to occupy police time, from processing permit applications to checking for permit validity
     to dealing with gunshot victims, inadvertent gun discharges, and the staggering number of
     stolen guns is likely to have an opportunity cost expressed in higher violent crime.
           The presence of more guns on the street can complicate the job of police as they
     confront (or shy away from) armed citizens. Daniel Nagin finds a pronounced positive
     association between statewide prevalence of gun ownership and police use of lethal force
     (Nagin forthcoming). A Minnesota police officer who stopped Philando Castile for a bro-
     ken taillight shot him seven times only seconds after Castile indicated he had a permit to
     carry a weapon because the officer feared the permit holder might be reaching for the


     prepared to shoot them if they start reaching for a gun (or even wear body armor). Depending on the response of the
     criminals to increased gun carrying by potential victims, the increased risk to the criminals may be small compared to the
     increased risk to the victims. Only an empirical evaluation can answer this question.

     26
      See footnotes 29–31 and accompanying text for examples of this pattern of police use of lethal force.

     27
      The panel data model uses the DAW explanatory variables set forth in Table 2.

     28
       The weighted average proportion of robberies committed by firearm in the year prior to RTC adoption (for
     states that adopted RTC between 1981 and 2014) is 36 percent while the similar proportion in 2014 for the same
     RTC states is 43 percent (and for non-RTC states is 29 percent).




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       gun. Another RTC permit holder, stranded in his disabled car early one morning on a
       Florida highway exit ramp, grabbed the gun he had legally purchased three days earlier
       when a police officer in plainclothes pulled up in a van with tinted windows and no
       lights. “It was not immediately clear what happened after [the officer] got out of his van,
       but the permit holder at some point started running … and [the officer] fired six times,”
       killing the permit holder, whose body fell “about 80 to 100 feet from his vehicle,” with
       his undischarged handgun on the ground somewhere in between (Robles & Hauser
       2015). After a similar encounter between an officer and a permit holder, the officer
       asked the gun owner: “Do you realize you almost died tonight?” (Kaste 2019).29
              A policemen trying to give a traffic ticket has more to fear if the driver is armed. When
       a gun is found in a car in such a situation, a greater amount of time is needed to ascertain
       the driver’s status as a permit holder. A lawful permit holder who happens to have forgotten
       his permit may end up taking up more police time through arrest and/or other processing.
              Moreover, police may be less enthusiastic about investigating certain suspicious
       activities or engaging in effective crime-fighting actions given the greater risks that wide-
       spread gun carrying poses to them, whether from permit holders or the criminals who
       steal their guns.30 In a speech at the University of Chicago Law School in October 2015,
       then-FBI Director James Comey argued that criticism of overly aggressive policing led
       officers to back away from more involved policing, causing violent crime to rise
       (Donohue 2017a). If the more serious concern of being shot by an angry gun toter
       impairs effective policing, the prospect of increased crime following RTC adoption could
       be far more substantial than the issue that Comey highlighted.31


       29
         A permit to carry instructor has posted a YouTube video about “How to inform an officer you are carrying a
       handgun and live” that is designed to “keep yourself from getting shot unintentionally” by the police. The video,
       which has over 4.2 million views, has generated comments from non-Americans that it “makes the US look like a
       war zone” and leads to such unnatural and time-consuming behavior that “an English officer … would look at you
       like a complete freak” (Soderling 2016).

       30
         “Every law enforcement officer working today knows that any routine traffic stop, delivery of a warrant or court
       order, or response to a domestic disturbance anywhere in the country involving people of any race or age can put
       them face to face with a weapon. Guns are everywhere, not just in the inner city” (Wilson 2016). In offering an
       explanation for why the United States massively leads the developed world in police shootings, criminologist David
       Kennedy stated: “Police officers in the United States in reality need to be conscious of and are trained to be con-
       scious of the fact that literally every single person they come in contact with may be carrying a concealed firearm.”
       For example, police in England and Wales shot and killed 55 people over the 25-year period from 1990–2014,
       while in just the first 24 days of 2015, the United States (with six times the population) had a higher number of
       fatal shootings by police (Lopez 2018).

       31
         A vivid illustration of how even the erroneous perception that someone accosted by the police is armed can lead
       to deadly consequences is revealed in the chilling video of five Arizona police officers confronting an unarmed
       man they incorrectly believed had a gun. During the prolonged encounter, the officers shouted commands at an
       intoxicated 26-year-old father of two, who begged with his hands in the air not to be shot. The man was killed by
       five bullets when, following orders to crawl on the floor toward police, he paused to pull up his slipping pants. A
       warning against the open carry of guns issued by the San Mateo County, California, Sheriff’s Office makes the gen-
       eral point that law enforcement officers become hyper-vigilant when encountering an armed individual: “Should
       the gun carrying person fail to comply with a law enforcement instruction or move in a way that could be con-
       strued as threatening, the police are forced to respond in kind for their own protection. It’s well and good in hind-
       sight to say the gun carrier was simply ‘exercising their rights’ but the result could be deadly” (Lunny 2010).




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            The presence of multiple gun carriers can also complicate police responses to mass
     shootings and other crimes. When police arrived at an Alabama mall in November 2018,
     they saw a 21-year-old concealed carry permit holder with gun drawn, and mistakenly
     killed him, thinking he was the shooter. In fact, the dead man had been assisting and
     protecting shoppers, and the real shooter escaped (McLaughlin & Holcombe 2018).
     Another benign intervention that ended in tragedy for the good guy with a gun occurred
     in July 2018 when police officers arrived as a “good Samaritan” with a concealed carry
     permit was trying to break up a fight in Portland, Oregon. The police saw the gun held
     by the permit holder—a Navy veteran, postal worker, and father of three—and in the
     confusion shot and killed him (Gueverra 2018).
            Good guys with guns also can interfere with police anti-crime efforts. For example,
     police reported that when a number of Walmart customers (fecklessly) pulled out their
     weapons during a shooting on November 1, 2017, their “presence ‘absolutely’ slowed the
     process of determining who, and how many, suspects were involved in the shootings, said
     Thornton [Colorado] police spokesman Victor Avila” (Simpson 2017).
            Similarly, in 2014, a concealed carry permit holder in Illinois fired two shots at a fleeing
     armed robber at a phone store, thereby interfering with a pursuing police officer. According
     to the police: “Since the officer did not know where the shots were fired from, he was forced
     to terminate his foot pursuit and take cover for his own safety” (Glanton & Sadovi 2014).
            Indeed, preventive efforts to get guns off the street in high-crime neighborhoods
     are less feasible when carrying guns is presumptively legal. The passage of RTC laws nor-
     malizes the practice of carrying guns in a way that may enable criminals to carry guns
     more readily without prompting a challenge, while making it harder for the police to
     know who is and who is not allowed to possess guns in public.
            Furthermore, negligent discharges of guns, although common, rarely lead to char-
     ges of violent crime but they can take up valuable police time for investigation and in
     determining whether criminal prosecution or permit withdrawal is warranted. For exam-
     ple, on November 16, 2017, Tennessee churchgoers were reflecting on the recent Texas
     church massacre in Sutherland Springs when a permit holder mentioned he always
     carries his gun, bragging that he would be ready to stop any mass shooter. While proudly
     showing his Ruger handgun, the permit holder inadvertently shot himself in the palm,
     causing panic in the church as the bullet “ripped through [his wife’s] lower left abdo-
     men, out the right side of her abdomen, into her right forearm and out the backside of
     her forearm. The bullet then struck the wall and ricocheted, landing under the wife’s
     wheelchair.” The gun discharge prompted a 911 call, which in the confusion made the
     police think an active shooting incident was underway. The result was that the local hos-
     pital and a number of schools were placed on lockdown for 45 minutes until the police
     finally ascertained that the shooting was accidental (Eltagouri 2017).32


     32
       Negligent discharges by permit holders have occurred in public and private settings from parks, stadiums, movie
     theaters, restaurants, and government buildings to private households (WFTV 2015; Heath 2015). Thirty-nine-year-
     old Mike Lee Dickey, who was babysitting an eight-year-old boy, was in the bathroom removing his handgun from
     his waistband when it discharged. The bullet passed through two doors, before striking the child in his arm while
     he slept in a nearby bedroom (Associated Press 2015). In April 2018, a 21-year-old pregnant mother of two in




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             Everything that takes up added police time or complicates the job of law enforce-
       ment will serve as a tax on police, rendering them less effective on the margin, and
       thereby contributing to crime. Indeed, this may in part explain why RTC states tend to
       increase the size of their police forces (relative to nonadopting states) after RTC laws are
       passed, as shown in Table 1.33


       B. A Simple Difference-in-Differences Analysis

       We begin by showing how violent crime evolved over our 1977–2014 data period for RTC
       and non-RTC states.34 Figure 1 depicts percentage changes in the violent crime rate over
       our entire data period for three groups of states: those that never adopted RTC laws,
       those that adopted RTC laws sometime between 1977 and before 2014, and those that
       adopted RTC laws prior to 1977. It is noteworthy that the 42.3 percent drop in violent
       crime in the nine states that never adopted RTC laws is almost an order of magnitude
       greater than the 4.3 percent reduction experienced by states that adopted RTC laws dur-
       ing our period of analysis.35
              The NRC Report presented a “no-controls” estimate, which is just the coefficient
       estimate on the variable indicating the date of adoption of a RTC law in a crime rate
       panel data model with state and year fixed effects. According to the NRC Report: “Esti-
       mating the model using data to 2000 shows that states adopting right-to-carry laws saw
       12.9 percent increases in violent crime—and 21.2 percent increases in property crime—
       relative to national crime patterns.” Estimating this same model using 14 additional years
       of data (through 2014) and 11 additional adopting states (listed at the bottom of Appen-
       dix Table C1) reveals that the average postpassage increase in violent crime was


       Indiana was shot by her three-year-old daughter when the toddler’s father left the legal but loaded 9mm handgun
       between the console and the front passenger seat after he exited the vehicle to go inside a store. The child
       climbed over from the backseat and accidentally fired the gun, hitting her mother though the upper right part of
       her torso. (Palmer 2018) See also Savitsky (2019) (country western singer Justin Carter dies when the gun in his
       pocket discharges and hits him in the face); Schwarz (2014) (Idaho professor shoots himself in foot during class
       two months after state legalizes guns on campuses); Murdock (2018) (man shoots himself in the groin with gun in
       his waistband in the meat section of Walmart in Buckeye, Arizona); Barbash (2018) (California teacher demon-
       strating gun safety accidentally discharges weapon in a high school classroom in March 2018, injuring one stu-
       dent); Fortin (2018) (in February 2018, a Georgia teacher fired his gun while barricaded in his classroom); US
       News (2018) (in April 2018, an Ohio woman with a valid concealed carry permit accidentally killed her two-year-
       old daughter at an Ohio hotel while trying to turn on the gun’s safety); and Fox News (2016) (“the owner of an
       Ohio gun shop was shot and killed when a student in a concealed carry permit class accidentally discharged a
       weapon,” striking the owner in the neck in a different room after the bullet passed through a wall).

       33
         See Adda et al. (2014), describing how local depenalization of cannabis enabled the police to reallocate
       resources, thereby reducing violent crime.

       34
        The FBI violent crime category includes murder, rape, robbery, and aggravated assault.

       35
         Over the same 1977–2014 period, the states that avoided adopting RTC laws had substantially smaller increases
       in their rates of incarceration and police employment. The nine never-adopting states increased their incarcera-
       tion rate by 205 percent, while the incarceration rates in the adopting states rose by 262 and 259 percent, for those
       adopting RTC laws before and after 1977, respectively. Similarly, the rate of police employment rose by 16 percent
       in the never-adopting states and by 38 and 55 percent for those adopting before and after 1977, respectively.




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     Figure 1: The decline in violent crime rates has been far greater in states with no RTC
     laws, 1977−2014.




     DATA SOURCES: UCR for crime rates; Census for state populations.
     NOTE: Illinois excluded since its concealed carry law did not go into effect until 2014. From 1977–2013, the violent
     crime rate in Illinois fell by 36 percent, from 631 to 403 crimes per 100,000 people.

     20.2 percent, while the comparable increase in property crime was 19.2 percent (both
     having p values less than 5 percent).36
            Of course, it does not prove that RTC laws increase crime simply because RTC
     states experience a worse postpassage crime pattern. For example, it might be the case
     that some states decided to fight crime by allowing citizens to carry concealed handguns
     while others decided to hire more police and incarcerate a greater number of convicted
     criminals. If police and prisons were more effective in stopping crime, the “no-controls”
     model might show that the crime experience in RTC states was worse than in other states
     even if this were not a true causal result of the adoption of RTC laws. As it turns out,
     though, RTC states not only experienced higher rates of violent crime but they also had
     larger increases in incarceration and police than other states. Table 1 provides panel data
     evidence on how incarceration and two measures of police employment changed after
     RTC adoption (relative to nonadopting states). All three measures rose in RTC states,
     and the 7–8 percent greater increases in police in RTC states are statistically significant.
     In other words, Table 1 confirms that RTC states did not have relatively declining rates of




     36
       The dummy variable model reports the coefficient associated with a RTC variable that is given a value of 0 when
     a RTC law is not in effect in that year, a value of 1 when a RTC law is in effect that entire year, and a value equal to
     the portion of the year a RTC law is in effect otherwise. The date of adoption for each RTC state is shown in
     Appendix Table A1. Note the fact that violent crime was noticeably higher in 1977 in the nine states that did not
     adopt RTC laws indicates that it will be particularly important that the parallel trends requirement of a valid panel
     data analysis is established, which is an issue to which we carefully attend in Section III.A.3. All our appendices are
     posted online at https://works.bepress.com/john_donohue/.




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       Table 1: Panel Data Estimates Showing Greater Increases in Incarceration and Police
       Following RTC Adoption: State- and Year-Fixed Effects, and No Other Regressors,
       1977–2014
                                         Incarceration        Police Employment per 100k          Police Officers per 100k

                                             (1)                          (2)                               (3)

       Dummy variable model              6.78 (6.22)                8.39*** (3.15)                    7.08** (2.76)
       NOTE: OLS estimations include state- and year-fixed effects and are weighted by population. Robust standard errors
       (clustered at the state level) are provided next to point estimates in parentheses. The police employment and
       sworn police officer data are from the Uniform Crime Reports (UCR). The source of the incarceration rate is the
       Bureau of Justice Statistics (2014). *p < 0.1; **p < 0.05; ***p < 0.01. All figures reported in percentage terms.


       incarceration or total police employees after adopting their RTC laws that might explain
       their comparatively poor postpassage crime performance.



       III. A Panel Data Analysis of RTC Laws
       A. Estimating Two Models on the Full Data Period 1977–2014

       We have just seen that RTC law adoption is followed by higher rates of violent and prop-
       erty crime (relative to national trends) and that the elevated crime levels after RTC law
       adoption occur despite the fact that RTC states actually invested relatively more heavily in
       prisons and police than non-RTC states. While the theoretical predictions about the
       effect of RTC laws on crime are indeterminate, these two empirical facts based on the
       actual patterns of crime and crime-fighting measures in RTC and non-RTC states suggest
       that the most plausible working hypothesis is that RTC laws increase crime. The next step
       in a panel data analysis of RTC laws would be to test this hypothesis by introducing an
       appropriate set of explanatory variables that plausibly influence crime.
              The choice of these variables is important because any variable that both influences
       crime and is simultaneously correlated with RTC laws must be included if we are to gen-
       erate unbiased estimates of the impact of RTC laws. At the same time, including irrele-
       vant and/or highly collinear variables can also undermine efforts at valid estimation of
       the impact of RTC laws. At the very least, it seems advisable to control for the levels of
       police and incarceration because these have been the two most important criminal justice
       policy instruments in the battle against crime.


       1. The DAW Panel Data Model

       In addition to the state and year fixed effects of the no-controls model and the identifier
       for the presence of an RTC law, our preferred “DAW model” includes an array of other
       factors that might be expected to influence crime, such as the levels of police and incar-
       ceration, various income, poverty, and unemployment measures, and six demographic
       controls designed to capture the presence of males in three racial categories (black,
       white, other) in two high-crime age groupings (15–19 and 20–39). Table 2 lists the full




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     Table 2:     Table of Explanatory Variables for Four Panel Data Studies
     Explanatory Variables                                                        DAW                                LM

     Right-to-carry law                                                             x                                 x
     Lagged per capita incarceration rate                                           x
     Lagged police staffing per 100,000                                             x
     residents
     Poverty rate                                                                   x
     Unemployment rate                                                              x
     Per capita ethanol consumption from beer                                       x
     Percentage of state population living in                                       x
     metropolitan statistical areas (MSA)
     Real per capita personal income                                                x                                 x
     Real per capita income maintenance                                                                               x
     Real per capita retirement payments                                                                              x
     Real per capita unemployment insurance                                                                           x
     payments
     Population density                                                                                               x
     Lagged violent or property arrest rate                                                                           x
     State population                                                                                                 x

     6 Age-sex-race demographic variables                                           x
     —all 6 combinations of black, white, and
     other males in 2 age groups (15–19, 20–39)
     indicating the percentage of the
     population in each group

     36 Age-sex-race demographic variables                                                                            x
     —all possible combinations of black, white,
     and other males in 6 age groups (10–19,
     20–29, 30–39, 40–49, 50–64, and over 65)
     and repeating this all for females,
     indicating the percentage of the
     population in each group

     NOTE: The DAW model is advanced in this article and the LM model was previously published by Lott and
     Mustard.


     set of explanatory variables for both the DAW model and the comparable panel data
     model used by Lott and Mustard (LM).37
           Mathematically, the simple dummy model takes the following form:
                                    ln ðcrime rate it Þ = βX it + γRTC it + αt + δi + εit                            ð1Þ

     where γ is the coefficient on the RTC dummy, reflecting the average estimated impact of
     adopting a RTC law on crime. The matrix Xit contains either the DAW or LM covariates


     37
       While we attempt to include as many state-year observations in these regressions as possible, District of Columbia
     incarceration data are missing after the year 2001. In addition, a handful of observations are also dropped from
     the LM regressions owing to states that did not report any usable arrest data in various years. Our regressions are
     performed with Huber-White robust standard errors that are clustered at the state level, and we lag the arrest rates
     used in the LM regression models. The rationales underlying both choices are described in more detail in Aneja
     et al. (2014). All the regressions presented in this article are weighted by state population.




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       Table 3: Panel Data Estimates Suggesting that RTC Laws Increase Violent and Property
       Crime: State- and Year-Fixed Effects, DAW Regressors, 1979–2014
                                Murder           Firearm             Nonfirearm              Violent            Property
                                 Rate           Murder Rate          Murder Rate           Crime Rate          Crime Rate

                                   (1)               (2)                  (3)                  (4)                 (5)

       Dummy variable         2.27 (5.05)     2.90 (6.74)         1.53 (3.32)            9.02*** (2.90)     6.49** (2.74)
       model
       NOTE: All models include year- and state-fixed effects, and OLS estimates are weighted by state population.
       Robust standard errors (clustered at the state level) are provided next to point estimates in parentheses. The
       violent and property crime data are from the Uniform Crime Reports (UCR) while the murder data are from
       the National Vital Statistics System (NVSS). Six demographic variables (based on different age-sex-race catego-
       ries) are included as controls in the regression above. Other controls include the lagged incarceration rate,
       the lagged police employee rate, real per capita personal income, the unemployment rate, poverty rate, beer,
       and percentage of the population living in MSAs. *p < 0.1; **p < 0.05; ***p < 0.01. All figures reported in per-
       centage terms.



       and demographic controls for state i in year t. The vectors α and δ are year and state fixed
       effects, respectively, while εit is the error term.
              The DAW panel data estimates of the impact of RTC laws on crime are shown in
       Table 3.38 The results are consistent with, although smaller in magnitude than, those
       observed in the no-controls model: RTC laws on average increased violent crime by 9.0
       percent and property crime by 6.5 percent in the years following adoption.39 The effect
       of RTC laws on murder is seen in Table 3 to be very imprecisely estimated and not statisti-
       cally significant.40
              We should also note one caveat to our results. Panel data analysis assumes that the
       treatment in any one state does not influence crime in nontreatment states. However, as we
       noted above,41 RTC laws tend to lead to substantial increases in gun thefts and those guns
       tend to migrate to states with more restrictive gun laws, where they elevate violent crime.
       This flow of guns from RTC to non-RTC states has been documented by gun trace data
       (Knight 2013), and Olson et al. (2019) find that “firearm trafficking from states with less
       restrictive firearm legislation to neighboring states with more restrictive firearm legislation



       38
        The complete set of estimates for all explanatory variables (except the demographic variables) for the DAW and
       LM dummy models are shown in Appendix Table B1.

       39
         Defensive uses of guns are more likely for violent crimes because the victim will clearly be present. For property
       crimes, the victim is typically absent, thus providing less opportunity to defend with a gun. It is unclear whether
       the many ways in which RTC laws could lead to more crime, which we discuss in Section II.A.2, would be more
       likely to facilitate violent or property crime, but our intuition is that violent crime would be more strongly
       influenced, which is in fact what Table 3 suggests.

       40
         We thank Phil Cook for informing us that UCR murder data are both less complete and less discerning than
       murder data collected by the National Vital Statistics. Note that we subtract all cases of justifiable homicides from
       the murder counts in our own Vital Statistics data.

       41
        See text at footnotes 20–22.




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     increases firearm homicide rates in those restrictive states.”42 As a result, our panel data esti-
     mates of the impact of RTC laws are downward biased by the amount that RTC laws induce
     crime spillovers into non-RTC states.43 One police investigation revealed that of the 224 guns
     a single gun trafficker in the DC area was known to have sold in just five months of 2015,
     94 were later found at crime scenes from Virginia to New York (Hermann & Weiner 2019).


     2. The LM Panel Data Model

     Table 2’s recitation of the explanatory variables contained in the Lott and Mustard
     (LM) panel data model reveals there are no controls for the levels of police and incarcer-
     ation in each state, even though a substantial literature has found that these factors have
     a large impact on crime. Indeed, as we saw in Table 1, both factors grew substantially and
     statistically significantly after RTC law adoption. A Bayesian analysis of the impact of RTC
     laws found that “the incarceration rate is a powerful predictor of future crime rates,” and
     specifically faulted this omission from the Lott and Mustard model (Strnad 2007:201,
     n.8). We have discussed an array of infirmities with the LM model in Aneja et al. (2014),
     including their reliance on flawed pseudo-arrest rates, and highly collinear demographic
     variables.
             As noted in Aneja et al. (2014):

          The Lott and Mustard arrest rates … are a ratio of arrests to crimes, which means that when
          one person kills many, for example, the arrest rate falls, but when many people kill one person,
          the arrest rate rises, since only one can be arrested in the first instance and many can in the sec-
          ond. The bottom line is that this “arrest rate” is not a probability and is frequently greater than
          one because of the multiple arrests per crime. For an extended discussion on the abundant
          problems with this pseudo arrest rate, see Donohue and Wolfers (2009).


     The LM arrest rates are also econometrically problematic since the denominator of the
     arrest rate is the numerator of the dependent variable crime rate, improperly leaving the
     dependent variable on both sides of the regression equation. We lag the arrest rates by
     one year to reduce this problem of ratio bias.
            Lott and Mustard’s use of 36 demographic variables is also a potential concern.
     With so many enormously collinear variables, the high likelihood of introducing noise
     into the estimation process is revealed by the wild fluctuations in the coefficient estimates
     on these variables. For example, consider the LM explanatory variables “neither black
     nor white male aged 30–39” and the identical corresponding female category. The LM
     dummy variable model for violent crime suggests that the male group will significantly


     42
       “Seventy-five percent of traceable guns recovered by authorities in New Jersey [a non-RTC state] are purchased
     in states with weaker gun laws, according to … firearms trace data … compiled by the federal Bureau of Alcohol,
     Tobacco, Firearms and Explosives … between 2012 and 2016” (Pugliese 2018). See also Freskos (2018b).

     43
       Some of the guns stolen from RTC permit holders may also end up in foreign countries, which will stimulate
     crime there but not bias our panel data estimates. For example, a recent analysis of guns seized by Brazilian police
     found that 15 percent came from the United States. Since many of these were assault rifles, they were probably not
     guns carried by American RTC permit holders (Paraguassu & Brito 2018).




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       Table 4: Panel Data Estimates of the Impact of RTC Laws: State-and Year-Fixed Effects,
       Using Actual and Modified LM Regressors, 1977–2014
                                     Panel A: LM Regressors Including 36 Demographic Variables

                                               Firearm              Nonfirearm              Violent           Property
                          Murder Rate         Murder Rate           Murder Rate           Crime Rate         Crime Rate
                               (1)                 (2)                  (3)                   (4)                (5)

       Dummy              –5.17 (3.33)      –3.91 (4.82)        –5.70** (2.45)          –1.38 (3.16)       –0.34 (1.71)
        variable
        model

                                     Panel B: LM Regressors with 6 DAW Demographic Variables

                            Murder            Firearm              Nonfirearm              Violent            Property
                             Rate            Murder Rate           Murder Rate           Crime Rate          Crime Rate
                              (1)                 (2)                   (3)                  (4)                 (5)

       Dummy              3.75 (5.92)      4.34 (7.85)         2.64 (4.02)             10.03** (4.81)     7.59** (3.72)
        variable
        model

            Panel C: LM Regressors with 6 DAW Demographic Variables and Adding Controls for Incarceration and Police

                            Murder            Firearm              Nonfirearm              Violent            Property
                             Rate            Murder Rate           Murder Rate           Crime Rate          Crime Rate
                              (1)                 (2)                   (3)                  (4)                 (5)

       Dummy              4.99 (5.50)      5.96 (7.20)         3.76 (4.29)             10.05** (4.54)     8.10** (3.63)
        variable
        model
       NOTE: All models include year- and state-fixed effects, and OLS estimates are weighted by state population. Robust
       standard errors (clustered at the state level) are provided next to point estimates in parentheses. In Panel A, 36
       demographic variables (based on different age-sex-race categories) are included as controls in the regressions
       above. In Panel B, only six demographic variables are included. In Panel C, only six demographic variables are
       included and controls are added for incarceration and police. For all three panels, other controls include the pre-
       vious year’s violent or property crime arrest rate (depending on the crime category of the dependent variable),
       state population, population density, real per capita income, real per capita unemployment insurance payments,
       real per capita income maintenance payments, and real retirement payments per person over 65. *p < 0.1; **p <
       0.05; ***p < 0.01. All figures reported in percentage terms.


       increase crime (the coefficient is 219), but their female counterparts have an even greater
       dampening effect on crime (with a coefficient of –258). Both conflicting estimates (not
       shown in Appendix Table B1) are statistically significant at the 0.01 level, and they are
       almost certainly picking up noise rather than revealing true relationships. Bizarre results
       are common in the LM estimates among these 36 demographic variables.44


       44
         Aneja et al. (2014) test for the severity of the multicollinearity problem using the 36 LM demographic variables,
       and the problem is indeed serious. The variance inflation factor (VIF) is shown to be in the range of 6 to 7 for the
       RTC variable in the LM dummy model when the 36 demographic controls are used. Using the six DAW variables
       reduces the multicollinearity for the RTC dummy to a tolerable level (with VIFs always below the desirable thresh-
       old of 5).




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            Table 4, Panel A shows the results of the LM panel data model estimated over the
     period 1977–2014. As seen above, the DAW model generated estimates that RTC laws
     raised violent and property crime (in the dummy model of Table 3), while the esti-
     mated impact on murders was too imprecise to be informative. The LM model gener-
     ates no statistically significant estimates, except for an apparent decline in non-firearm-
     related murders. We can almost perfectly restore the DAW Table 3 findings, however,
     by simply limiting the inclusion of 36 highly collinear demographic variables to the
     more typical array used in the DAW regressions, as seen in Panel B of Table 4. This
     modified LM dummy variable model suggests that RTC laws increase violent and prop-
     erty crime, mimicking the DAW dummy variable model estimates, and this same finding
     persists if we add in controls for police and incarceration, as seen in Panel C of
     Table 4.


     3. Testing the DAW and LM Models for the Parallel Trends Assumption

     Many researchers are content to present panel data results such as those shown in
     Tables 3 and 4 without establishing their econometric validity. This can be a serious
     mistake. We have already registered concerns about the choice of controls included
     in the LM model, but, as we will see, the LM model regressions in Panel A of
     Table 4—including the spurious finding that RTC laws reduce non-firearm
     homicides—uniformly violate the critical assumption of parallel trends. In sharp con-
     trast, the DAW model illustrates nearly perfect parallel trends in the decade prior to
     RTC adoption for violent crime and sufficiently satisfies this assumption in three of
     the other four regressions in Table 3 (murder, non-firearm murder, and property
     crime).
            To implement this test and to provide more nuanced estimates of the impact of
     RTC laws on crime than in the simple dummy models of Tables 3 and 4, we ran
     regressions showing the values on yearly dummy variables for 10 years prior to RTC
     adoption to 10 years after RTC adoption. If the key parallel trends assumption of
     panel data analysis is valid, we should see values of the pre-adoption dummies that
     show no trend and are close to zero. Figure 2 shows that the DAW violent crime
     model performs extremely well: the pre-adoption dummies are virtually all zero (and
     hence totally flat) for the eight years prior to adoption, and violent crime starts rising
     in the year of adoption, showing statistically significant increases after the law has
     been in effect for at least a full year. The upward trend in violent crime continues for
     the entire decade after adoption. Figure 2 also highlights that the single dummy
     models of Tables 3 and 4 (which implicitly assume an immediate and constant post-
     adoption impact on crime) are mis-specified. Importantly, we can now see the exact
     timing and pattern of the estimated impact on crime, which can, and in this case
     does, provide further support for a causal interpretation of the estimated increase in
     violent crime.
            In contrast to the ideal performance of the DAW violent crime model, all of the
     Table 4 regressions using the LM model perform extremely poorly. For example, con-
     sider the LM model for firearm murder depicted in Figure 3, which shows that there is




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       Figure 2:     The impact of RTC laws on violent crime, DAW model, 1979−2014.




       NOTE: We regress crime on dummies for pre− and post−passage years and DAW covariates. Reference year is
       year before adoption and adoption year is first year with RTC in place at any time, meaning that in states that adopt
       after January 1, this will capture only a partial effect of RTC laws. We display the 95 percent confidence interval for each
       estimate using cluster-robust standard errors and show the number of states that contribute to each estimate.


       an enormously steep downward trend in the values of the pre-adoption dummies.
       Indeed, we see that the downward trend reverses just at the time of adoption of the
       RTC law and after six years we observe statistically significant increases in firearm

       Figure 3:     The impact of RTC laws on firearm murder, LM model, 1977–2014




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     murder above the prior trend. Thus, while Table 4 ostensibly showed a statistically
     insignificant 3.9 percent drop in violent crime, the more discerning analysis of
     Figure 3 shows that that estimate is econometrically invalid, given such an influential
     violation of the parallel trends requirement. In fact, the LM model estimated for
     Figure 3 provides evidence that the adoption of RTC laws reversed a previous benign
     trend starting exactly at the time of RTC adoption and led to higher levels of fire-
     arm homicide.
            Appendix D depicts the same year-by -year estimates for the other crimes using
     both the DAW and LM models. It is worth noting that, for our entire data period, the
     four DAW and LM murder and firearm murder figures show an apparent malign break
     in trend at the time of RTC adoption, while the trend for non-firearm murder remains
     unchanged in the DAW and LM models. The unchanged downward trend in the LM
     non-firearm model illustrates the violation of the parallel trends assumption, invalidating
     the anomalous finding for that crime in Panel A of Table 4.45
            For the DAW and LM property crime panel data estimates, we see almost the same
     pattern. While the pre-adoption performance of the DAW property crime model (see
     Appendix Figure D2) is not quite as perfect as it was for violent crime, it still shows a
     roughly flat pattern for the eight years prior to adoption, followed by a persistent
     pattern of increasing property crime in the 10 years after RTC adoption. The increase in
     property crime turns statistically significant at the time of adoption. In Appendix
     Figure D3, however, we again see the same deficient pattern observed for the LM model
     in Appendix Figure D1: property crime falls in the 10 years prior to adoption, and the
     pattern reverses itself, leading to increasing property crime in the decade following RTC
     adoption.
            We also conducted a panel data assessment looking at the 11 states that adopted
     RTC laws in the period from 2000–2014 when the confounding effect of the crack epi-
     demic had subsided. The results provide further support that RTC laws increase crime,
     including estimates that overall murder and firearm murder rise substantially with RTC
     adoption. See further discussion and relevant figures and estimates in Appendix C.
     Figure 4 shows the year-by-year estimated effect of RTC laws on overall murder for the
     DAW model for this postcrack time period. The figure shows a flat pretrend (albeit with
     some variance around it) and then a sizeable jump in murder starting just at the year of
     RTC adoption. The LM model shows substantially the same statistically significant
     increase in murder.




     45
       Appendix Figure D1 also illustrates why the LM dummy model estimate on violent crime in Panel A of Table 4
     was not positive and statistically significant (as it was for the DAW model in Table 3 and the modified LM models
     in Panels B and C of Table 4): Appendix Figure D1 reveals that, for the LM model, violent crime was trending
     down throughout the pre-adoption period, dropping from 5 percentage points to zero over that decade, at which
     point it reverses and violent crime increases to roughly a 6 percent increase by 10 years after RTC adoption. The v-
     shape pattern over that two-decade period leads the LM dummy model to obscure the increase in violent crime
     that is clearly seen in Appendix Figure D1.




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       Figure 4:   The impact of RTC laws on murder, DAW model, 2000–2014




       B. Summary of Panel Data Analysis

       The uncertainty about the impact of RTC laws on crime expressed in the NRC Report
       was based on an analysis of data only through 2000. The preceding evaluation of an
       array of different specifications over the full data period from the late 1970s through
       2014 as well as in the postcrack period has given consistent evidence that something
       bad happened to murder and violent and property crime right at the time of RTC
       adoption. The most statistically significant crime increases for the full period were
       seen for DAW violent and property crime. For the postcrack period, the largest and
       most highly statistically significant increases were seen for murder and firearm
       murder.
             Other work has also provided evidence that RTC laws increase murder and/or
       overall violent crime—see Zimmerman (2014), examining postcrack-era data and the
       recent work by Donohue (2017b) and Siegel et al. (2017) concluding that RTC laws
       increase firearm and handgun homicide. Work by McElroy and Wang (2017) reinforces
       this conclusion, with results from a dynamic model that accounts for forward-looking
       behavior finding that violent crime would be one-third lower if RTC laws had not been
       passed. We discuss other recent published studies finding that RTC laws increase violent
       crime in Appendix C.
             Despite the substantial panel data evidence in the post-NRC literature that supports
       the finding of the pernicious influence of RTC laws on crime, the NRC suggestion that




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     new techniques should be employed to estimate the impact of these laws is fitting. The
     important paper by Strnad (2007) used a Bayesian approach to argue that none of the
     published models used in the RTC evaluation literature rated highly in his model selec-
     tion protocol when applied to data from 1977–1999.
            Durlauf et al. attempt to sort out the different specification choices in evaluating
     RTC laws by using their own Bayesian model averaging approach using county data
     from 1979–2000. Applying this technique, the authors find that in their preferred
     spline (trend) model, RTC laws elevate violent crime in the three years after RTC
     adoption: “As a result of the law being introduced, violent crime increases in the first
     year and continues to increase afterwards” (2016:50). By the third year, their preferred
     model suggests a 6.5 percent increase in violent crime. Since their paper only provides
     estimates for three postpassage years, we cannot draw conclusions beyond this but
     note that their finding that violent crime increases by over 2 percent per year owing
     to RTC laws is a substantial crime increase. Moreover, the authors note: “For our esti-
     mates, the effect on crime of introducing guns continues to grow over time”
     (2016:50).46
            Owing to the substantial challenges of estimating effects from observational data, it
     will be useful to see if yet another statistical approach that has different attributes from
     the panel data methodology can enhance our understanding of the impact of RTC laws.
     The rest of this article will use this synthetic control approach, which has been deemed
     “arguably the most important innovation in the policy evaluation literature in the last
     15 years” (Athey & Imbens 2017).



     IV. Estimating the Impact of RTC Laws Using Synthetic
         Controls
     The synthetic control methodology, which is becoming increasingly prominent in eco-
     nomics and other social sciences, is a promising new statistical approach for addressing
     the impact of RTC laws.47 While most synthetic control papers focus on a single



     46
       While our analysis focused on crime at the state level, there is obviously heterogeneity in crime rates within
     states, which is amalgamated into our population-weighted state average figures. A paper by Kovandzic et al.
     (KMV) buttresses the view that our state-focused estimates are not giving a misleading impression of the impact of
     RTC laws on violent crime. KMV limited their analysis to urban areas within each state, estimating the impact of
     RTC laws on crime using a panel data analysis from 1980–2000 on 189 cities with a population of 100,000 or more
     (Kovandzic et al. 2005). Although they did not estimate an overall violent crime effect, they did report that RTC
     laws were associated with a highly statistically significant increase in the rate of aggravated assault, the largest single
     component of violent crime. Their figures suggest that RTC laws led to a 20.1 percent increase in aggravated
     assault in the 10 years following adoption.

     47
       The synthetic control methodology has been deployed in a wide variety of fields, including health economics
     (Nonnemaker et al. 2011), immigration economics (Bohn et al. 2014), political economy (Keele 2009), urban eco-
     nomics (Ando 2015), the economics of natural resources (Mideksa 2013), and the dynamics of economic growth
     (Cavallo et al. 2013).




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       treatment in a single geographic region, we look at 33 RTC adoptions occurring over
       three decades throughout the country. For each adopting (“treated”) state we will find a
       weighted average of other states (“a synthetic control”) designed to serve as a good coun-
       terfactual for the impact of RTC laws because it had a pattern of crime similar to that of
       the adopting state prior to RTC adoption. By comparing what actually happened to crime
       after RTC adoption to the crime performance of the synthetic control over the same
       period, we generate estimates of the causal impact of RTC laws on crime.48


       A. The Basics of the Synthetic Control Methodology

       The synthetic control method attempts to generate representative counterfactual units by
       comparing a treatment unit (i.e., a state adopting an RTC law) to a set of control units
       across a set of explanatory variables over a preintervention period. The algorithm
       searches for similarities between the treatment state of interest and the control states dur-
       ing this period and then generates a synthetic counterfactual unit for the treatment state
       that is a weighted combination of the component control states.49 Two conditions are
       placed on these weights: they must be nonnegative and they must sum to 1. In general,
       the matching process underlying the synthetic control technique uses pretreatment
       values of both the outcome variable of interest (in our case, some measure of crime) and
       other predictors believed to influence this outcome variable.50 For the reasons set forth
       in Appendix K, we use every lag of the dependent variable as predictors in the DAW and
       LM specifications. Once the synthetic counterfactual is generated and the weights associ-
       ated with each control unit are assigned, the synth program then calculates values for the
       outcome variable associated with this counterfactual and the root mean squared predic-
       tion error (RMSPE) based on differences between the treatment and synthetic control
       units in the pretreatment period. The effect of the treatment can then be estimated by
       comparing the actual values of the dependent variable for the treatment unit to the
       corresponding values of the synthetic control.


       B. Generating Synthetic Controls for 33 States Adopting RTC Laws During Our Data Period

       To illustrate the procedure outlined above, consider the case of Texas, whose RTC law
       went into effect on January 1, 1996. The potential control group for each treatment state


       48
         For a more detailed technical description of this method, we direct the reader to Abadie and Gardeazabal
       (2003) and Abadie et al. (2010, 2014).

       49
         Our analysis is done in Stata using the synth software package developed by Alberto Abadie, Alexis Diamond, and
       Jens Hainmueller.

       50
         Roughly speaking, the algorithm that we use finds W (the weights of the components of the synthetic control)
                       pﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃﬃ
       that minimizes ðX1  X0 W Þ0VðX1  X0 WÞ, where V is a diagonal matrix incorporating information about the rel-
       ative weights placed on different predictors, W is a vector of nonnegative weights that sum to 1, X1 is a vector con-
       taining pretreatment information about the predictors associated with the treatment unit, and X0 is a matrix
       containing pretreatment information about the predictors for all the control units.




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     consists of all nine states with no RTC legislation as of the year 2014, as well as states that
     pass RTC laws at least 10 years after the passage of the treatment state (e.g., in this case,
     the five states passing RTC laws after 2006, such as Nebraska and Kansas, whose RTC laws
     went into effect at the beginning of 2007). Since we estimate results for up to 10 years
     postpassage,51 this restriction helps us avoid including states with their own permissive
     concealed carry laws in the synthetically constructed unit (which would mar the control
     comparison).
            After entering the necessary specification information into the synth program
     (e.g., treatment unit, list of control states, explanatory variables, etc.), the algorithm pro-
     ceeds to construct the synthetic unit from the list of control states specific to Texas and
     generates values of the dependent variable for the counterfactual for both the pre-
     treatment and posttreatment periods. The rationale behind this methodology is that a
     close fit in the prepassage time series of crime between the treatment state and the syn-
     thetic control generates greater confidence in the accuracy of the constructed counter-
     factual. Computing the posttreatment difference between the dependent variables of the
     treatment state and the synthetic control unit provides the synthetic control estimate of
     the treatment effect attributable to RTC adoption in that state.



     1. Synthetic Control Estimates of Violent Crime in Two States

     Figure 5 shows the synthetic control graph for violent crime in Texas over the period
     from 1977 through 2006 (10 years after the adoption of Texas’s RTC law). The solid
     black line shows the actual pattern of violent crime for Texas, and the vertical line indi-
     cates when the RTC law went into effect. Implementing the synthetic control protocol
     identifies three states that generate a good fit for the pattern of crime experienced by
     Texas in the pre-1996 period. These states are California, which gets a weight of 57.7 per-
     cent owing to its similar attributes compared to Texas, Nebraska with a weight of 9.7 per-
     cent, and Wisconsin with a weight of 32.6 percent.
           One of the advantages of the synthetic control methodology is that one can assess
     how well the synthetic control (call it “synthetic Texas,” which is identified in Figure 5
     by the dashed line) matches the pre-RTC-passage pattern of violent crime to see
     whether the methodology is likely to generate a good fit in the 10 years of postpassage
     data. Here the fit looks rather good in mimicking the rises and falls in Texas violent
     crime from 1977–1995. This pattern increases our confidence that synthetic Texas will
     provide a good prediction of what would have happened in Texas had it not adopted
     an RTC law.
           Looking at Figure 5, we see that while both Texas and synthetic Texas (the
     weighted average violent crime performance of the three mentioned states) show
     declining crime rates in the postpassage decade after 1996, the crime drop is


     51
       Our choice of 10 years is informed by the tradeoffs associated with using a different timeframe. Tables 5 and 6
     indicate that the increase in violent crime due to RTC laws is statistically significant at the .01 level for all years
     after seven years post-adoption.




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       Figure 5:    Texas: Violent crime rate.




       Effect of 1996 RTC Law 10 Years After Adoption: 16.9%
       NOTE: Passage Year Difference From SC: 3.6% Composition of SC: CA (0.577); NE (0.097); WI (0.326) CVRMSPE:
       0.06 (8 of 33 states, where 1 denotes the state with the best pre-passage fit.).
       States Never Passing RTC Laws Included in Synthetic Control: CA;
       RTC Adopting States Included in Synthetic Control: NE (2007); WI (2012).


       substantially greater in synthetic Texas, which had no RTC law over that period, than in
       actual Texas, which did. As Figure 5 notes, 10 years after adopting its RTC law, violent
       crime in Texas was 16.9 percent higher than we would have expected had it not adopted
       an RTC law.52
             Figure 5 also illustrates perhaps the most important lesson of causal inference: one
       cannot simply look before and after an event to determine the consequence of the event.
       Rather, one needs to estimate the difference between what did unfold and the counter-
       factual of what would have unfolded without the event. The value of the synthetic control
       methodology is that it provides a highly transparent estimate of that counterfactual, using
       a tool designed to ensure the validity of the parallel trends assumption that we have
       already seen is so critical to achieving meaningful causal estimates. Thus, when Lott



       52
         Texas’s violent crime rate 10 years post-adoption exceeds that of “synthetic Texas” by 20.41 percent
        = 517:3 429:6
             429:6     × 100%. While some researchers would take that value as the estimated effect of RTC, we chose to sub-
       tract off the discrepancy in 1996 between the actual violent crime rate and the synthetic control value in that year.
       This discrepancy is 3.55 percent = 644:4  622:3
                                               622:3    × 100% (shown in the line just below the graph of Figure 5). See foot-
       note 58 for further discussion of this calculation. Figure 5 shows a (rounded) estimated violent crime increase in
       Texas of 16.9 percent. We arrive at this estimate by subtracting the 1996 discrepancy of 3.55 percent from the
       20.41 percent 10th-year discrepancy, which generates a TEP of 16.86 percent.




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     (2010) quotes a Texas District Attorney suggesting that he had reversed his earlier opposition
     to the state’s RTC law in light of the perceived favorable experience with the law, we see why
     it can be quite easy to draw the inaccurate causal inference that Texas’s crime decline was
     facilitated by its RTC law. The public may perceive the falling crime rate post-1996 (the
     solid black line), but our analysis suggests that Texas would have experienced a more
     sizable violent crime decline if it had not passed an RTC law (the dotted line). More
     specifically, Texas experienced a 19.7 percent decrease in its aggregate violent crime
     rate in the 10 years following its RTC law (between 1996 and 2006), while the state’s
     synthetic control experienced a larger 31.0 percent decline. This counterfactual would
     not be apparent to residents of the state or to law enforcement officials, but our
     results suggest that Texas’s RTC law imposed a large social cost on the state.
             The greater transparency of the synthetic control approach is one advantage of this
     methodology over the panel data models that we considered above. Figure 5 makes clear
     what Texas is being compared to, and we can reflect on whether this match is plausible
     and whether anything other than RTC laws changed in these three states during the post-
     passage decade that might compromise the validity of the synthetic control estimate of
     the impact of RTC laws.
             Figure 6 shows our synthetic control estimate for Pennsylvania, which adopted an
     RTC law in 1989 that did not extend to Philadelphia until a subsequent law went into

     Figure 6: Pennsylvania: Violent crime rate.




     Effect of 1989 RTC Law 10 Years After Adoption: 24.4%
     NOTE: Passage Year Difference From SC: -1.1%. Composition of SC: DE (0.078); HI (0.073); MD (0.038); NE
     (0.016); NJ (0.103); OH (0.27); WI (0.424) CVRMSPE: 0.017 (1 of 33 states, where 1 denotes the state with the best
     pre-passage fit.).
     States Never Passing RTC Laws Included in Synthetic Control: DE; HI; MD; NJ;
     RTC Adopting States Included in Synthetic Control: NE (2007); OH (2004); WI (2012).




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       Figure 7: The effect of RTC laws on violent crime after 10 years, synthetic control esti-
       mates for 31 states (1977–2014).




       effect on October 11, 1995. In this case, synthetic Pennsylvania is comprised of eight
       states and the prepassage fit is nearly perfect. Following adoption of the RTC laws, syn-
       thetic Pennsylvania shows substantially better crime performance than actual Pennsylva-
       nia after the RTC law is extended to Philadelphia in late 1995, as illustrated by the
       second vertical line at 1996. The synthetic control method estimates that RTC laws in
       Pennsylvania increased its violent crime rate by 24.4 percent after 10 years.53


       2. State-Specific Estimates Across All RTC States

       Because we are projecting the violent crime experience of the synthetic control over a
       10-year period, there will undoubtedly be a deviation from the “true” counterfactual and
       our estimated counterfactual. If we were only estimating the impact of a legal change for
       a single state, we would have an estimate marred by this purely stochastic aspect of chang-
       ing crime. Since we are estimating an average effect across a large number of states, the



       53
         In Appendix I, we include all 33 graphs showing the path of violent crime for the treatment states and the syn-
       thetic controls, along with information about the composition of these synthetic controls, the dates of RTC adop-
       tion (if any) for states included in these synthetic controls, and the estimated treatment effect (expressed in terms
       of the percent change in a particular crime rate) 10 years after adoption (or seven years after adoption for two
       states that adopted RTC laws in 2007, since our data end in 2014). The figures also document the discrepancy in
       violent crime in the year of adoption between the actual and synthetic control values.




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     stochastic variation will be diminished as the overestimates and underestimates will tend
     to wash out in our mean treatment estimates. Figure 7 shows the synthetic control esti-
     mates on violent crime for all 31 states for which we have 10 years of postpassage data.
     For 23 of the 31 states adopting RTC laws, the increase in violent crime is noteworthy.54
     Although three states were estimated to have crime reductions greater than the –1.6 per-
     cent estimate of South Dakota, if one averages across all 31 states, the (population-
     weighted) mean treatment effect after 10 years is a 14.3 percent increase in violent crime.
     If one instead uses an (unweighted) median measure of central tendency, RTC laws are
     seen to increase crime by 12.3 percent.


     3. Less Effective Prepassage Matches

     Section IV.B.1 provided two examples of synthetic controls that matched the crime of the
     treatment states well in the prepassage period, but this does not always happen. For
     example, we would have considerably less confidence in the quality of the synthetic con-
     trol estimates for Maine, whose poor estimate is depicted in Appendix Figure I11. Maine
     also happens to be the state showing the greatest reduction in violent crime following
     RTC adoption, as indicated in Figure 7.
            For Maine, one sees that the synthetic control and the state violent crime perfor-
     mance diverged long before RTC adoption in 1986, and that, by the date of adoption,
     Maine’s violent crime rate was already 37.9 percent below the synthetic control estimate.
     The violent crime rate of actual Maine was trending down, while the synthetic control
     estimate had been much higher and trending up in the immediate pre-adoption period.
     The difficulty in generating good prepassage matches for states like Maine stems from
     their unusually low violent crime in the prepassage period.
            Appendix Figure D11 reproduces Figure 7 while leaving out the five states for
     which the quality of prepassage fit is clearly lower than in the remaining 26 states.55
     This knocks out North Dakota, South Dakota, Maine, Montana, and West Virginia,
     thereby eliminating three of the five outlier estimates at both ends of the scale, and
     leaving the mean and median effects of RTC laws relatively unchanged from Figure 7.
     As Appendix Figure D11 shows, the (weighted) mean increase in crime across the
     listed 26 RTC-adopting states is 13.7 percent while the (unweighted) median increase
     is now 11.1 percent. Increases in violent crime of this magnitude are troubling.
     Consensus estimates of the elasticity of crime with respect to incarceration hover
     around 0.15 today, which suggests that to offset the increase in crime caused by RTC
     adoption, the average RTC state would need to approximately double its prison
     population.



     54
      The smallest of these, Kentucky, had an increase of 4.6 percent.

     55
       In particular, for these five states, the prepassage CVRMSPE—that is, the RMSPE transformed into a coefficient
     of variation by dividing by the average prepassage crime rate—was 19 percent or greater. See note 61 for further
     discussion of this statistic.




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       V. Aggregation Analysis Using Synthetic Controls
       A small but growing literature applies synthetic control techniques to the analysis of mul-
       tiple treatments.56 We estimate the percentage difference in violent crime between each
       treatment (RTC-adopting) state and the corresponding synthetic control in both the year
       of the treatment and in the 10 years following it. This estimate of the treatment effect
       percentage (TEP) obviously uses data from fewer posttreatment years for the two treat-
       ment states57 in which RTC laws took effect less than 10 years before the end of our
       sample.
              We could use each of these 10 percentage differences as our estimated effects of
       RTC laws on violent crime for the 10 postpassage years, but, as noted above, we make
       one adjustment to these figures by subtracting from each the percentage difference in
       violent crime in the adoption year between the treatment and synthetic control states. In
       other words, if 10 years after adopting an RTC law, the violent crime rate for the state
       was 440 and the violent crime rate for the synthetic control was 400, one estimate of the
                                                        400
                                                             
       effect of the RTC law could be 10 percent = 440400      . Rather than use this estimate, how-
       ever, we have subtracted from this figure the percentage difference between the synthetic
       and treatment states in the year of RTC adoption. If, say, the violent crime rate in the
       treatment state that year was 2 percent higher than the synthetic control value, we would
       subtract 2 from 10 to obtain an estimated 10th-year effect of RTC laws of 8 percent.58 We



       56
         The closest paper to the present study is Arindrajit Dube and Ben Zipperer (2013), who introduce their own
       methodology for aggregating multiple events into a single estimated treatment effect and calculating its signifi-
       cance. Their study centers on the effect of increases in the minimum wage on employment outcomes, and, as we
       do, the authors estimate the percentage difference between the treatment and the synthetic control in the post-
       treatment period. While some papers analyze multiple treatments by aggregating the areas affected by these treat-
       ments into a single unit, this approach is not well-equipped to deal with a case such as RTC law adoption where
       treatments affect the majority of panel units and more than two decades separate the dates of the first and last
       treatment under consideration, as highlighted in Figure 7.

       57
        These two states are Kansas and Nebraska, which adopted RTC laws in 2007. See note 4 discussing the states for
       which we cannot estimate the impact of RTC laws using synthetic controls.

       58
         It is unclear ex ante whether one should implement this subtraction. The intuitive rationale for our choice of
       outcome variable was that pretreatment differences between the treatment state and its synthetic control at the
       time of RTC adoption likely reflected imperfections in the process of generating a synthetic control and should
       not contribute to our estimated treatment effect if possible. In other words, if the treatment state had a crime
       rate that was 5 percent greater than that of the synthetic control in both the pretreatment and posttreatment
       period, it would arguably be misleading to ignore the pretreatment difference and declare that the treatment
       increased crime rates by 5 percent. On the other hand, subtracting off the initial discrepancy might be adding
       noise to the subsequent estimates.
          We resolve this issue with the following test of our synthetic control protocol: we pretend that each RTC-
       adopting state actually adopted its RTC law five years before it did. We then generate synthetic control estimates
       of this phantom law over the next five years of actual pretreatment data. If our synthetic control approach is
       working perfectly, it should simply replicate the violent crime pattern for the five pretreatment years. Conse-
       quently, the estimated “effect” of the phantom law should be close to zero. Indeed, when we follow our subtrac-
       tion protocol, the synthetic controls match the pretreatment years more closely than when we do not provide
       this normalization. Specifically, with subtraction the estimated “effect” in the final pretreatment year is a wholly
       insignificant 3.2 percent; without subtraction, it jumps to a statistically significant 5.3 percent. Consequently,




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     then look across all the state-specific estimates of the impact of RTC laws on violent crime
     for each of the 10 individual postpassage years and test whether they are significantly dif-
     ferent from zero.59



     A. RTC Laws Increase Violent Crime

     We begin our analysis of the aggregated synthetic control results using predictors
     derived from the DAW specification. Table 5 shows our results on the full sample
     examining violent crime.60 Our estimates of the normalized average treatment effect
     percentage (TEP) suggest that states that passed RTC laws experienced more deleteri-
     ous changes in violent criminal activity than their synthetic controls in the 10 years
     after adoption. On average, treatment states had aggregate violent crime rates that
     were almost 7 percent higher than their synthetic controls five years after passage and
     around 14 percent higher 10 years after passage. Table 5 suggests that the longer the
     RTC law is in effect (up to the 10th year that we analyze), the greater the cost in
     terms of increased violent crime.
           As we saw in Figures 6 (Pennsylvania) and I11(Maine), the validity of using the
     posttreatment difference between crime rates in the treatment state (the particular state
     adopting an RTC law that we are analyzing) and its corresponding synthetic control as a
     measure of the effect of the RTC law depends on the strength of the match between
     these two time series in the pretreatment period. To generate an estimate of pre-
     treatment fit that takes into account differences in pretreatment crime levels, we estimate
     the coefficient of variation for the root mean squared prediction error (RMSPE), which




     normalization is the preferred approach for violent crime. It should also be noted that our actual synthetic con-
     trol estimates will be expected to perform better than this phantom RTC estimate since we will be able to derive
     our synthetic controls from five additional years of data, thereby improving our pretreatment fit.
        As it turns out, the choice we made to subtract off the initial-year crime discrepancy is a conservative one, in
     that the estimated crime increases from RTC laws would be greater without subtraction. We provide synthetic con-
     trol estimates for the DAW model without subtraction of the adoption-year percentage difference for violent
     crime, murder, and property crime in Appendix F. Comparison of these Appendix F estimates with those in the
     text (Table 5) reveals that our preferred method of subtracting yields more conservative results (i.e., a smaller
     increase in violent crime due to RTC). In Table 5, we estimate the 10th-year TEP for violent crime as roughly
     13.5 to 14.3 percent, while the comparable estimates without subtraction are roughly 17–18 percent, as seen in
     Appendix Tables F1, F2, and F3. Indeed, without subtraction, every estimated impact would show RTC laws lead
     to a statistically significant increase in every crime category we consider except non-firearm homicide, as seen in
     Appendix F.

     59
       This test is performed by regressing these differences in a model using only a constant term and examining
     whether that constant is statistically significant. These regressions are weighted by the population of the treatment
     state in the posttreatment year under consideration. Robust standard errors corrected for heteroskedasticity are
     used in this analysis.

     60
      We discuss the synthetic control estimates for murder and property crime in Section V.F.




                                                   Wise Decl. Ex. 4 -035
                        Table 5:    The Impact of RTC Laws on the Violent Crime Rate, DAW Covariates, Full Sample, 1977–2014
                                                                  (1)        (2)        (3)         (4)         (5)         (6)         (7)           (8)           (9)          (10)

                        Average normalized treatment           –0.117      2.629*     3.631*     4.682**     6.876***    7.358**     10.068***     12.474***    14.021***     14.344***
                        effect percentage (TEP)                (1.076)     (1.310)    (1.848)    (2.068)     (2.499)     (3.135)     (2.823)       (3.831)      (3.605)       (2.921)
                        N                                      33          33         33         33          33          33          33            31           31            31
                        Pseudo p value                         0.936       0.274      0.220      0.192       0.094       0.106       0.060         0.038        0.032         0.032
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                        NOTE: Standard errors in parentheses. Column numbers indicate postpassage year under consideration; N = number of states in sample. The synthetic controls method




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                        is run using the nested option, and each year’s estimate and statistical significance is computed as explained in note 59. *p < 0.10; **p < 0.05; ***p < 0.01.
                                                                                                                                                                                                                                 Right-to-Carry Laws and Violent Crime 233
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     is the ratio of the synthetic control’s pretreatment RMSPE to the pretreatment average
     level of the outcome variable for the treatment state.61
            To evaluate the sensitivity of the aggregate synthetic control estimate of the crime
     impact of RTC laws in Table 5, we consider two subsamples of treatment states: states
     whose coefficients of variation are less than two times the average coefficient of varia-
     tion for all 33 treatments and states whose coefficients of variation are less than this
     average. We then rerun our synthetic control protocol using each of these two subsam-
     ples to examine whether restricting our estimation of the average treatment effect to
     states for which a relatively “better” synthetic control could be identified would mean-
     ingfully change our findings.
            All three samples yield roughly identical conclusions: RTC laws are consistently
     shown to increase violent crime, with the 10th-year increase ranging from a low of 13.5
     (when we remove the six states with above-average values of the CV RMSPE) to a high of
     14.3 percent (Table 5).


     B. The Placebo Analysis

     Our ability to make valid inferences from our synthetic control estimates depends on the
     accuracy of our standard error estimation. To test the robustness of the standard errors
     that we present under the first row of Table 5, we incorporate an analysis using placebo
     treatment effects similar to Ando (2015).62 For this analysis, we generate 500 sets of ran-
     domly generated RTC dates that are designed to resemble the distribution of actual RTC


     61
        While the RMSPE is often used to assess this fit, we believe that the use of this measure is not ideal for comparing
     fit across states, owing to the wide variation that exists in the average pretreatment crime rates among the 33 treat-
     ment states that we consider. For example, the pretreatment RMPSE associated with our synthetic control analysis
     using the DAW predictor variables and aggregate violent crime as the outcome variable is nearly identical for Texas
     (37.1) and Maine (36.4), but the pretreatment levels of Texas’s aggregate violent crime rate are far greater than
     Maine’s. To be more specific, Texas’s average violent crime rate prior to the implementation of its RTC law (from
     1977 through 1995) was 617 violent crimes per 100,000 residents, while the corresponding figure for Maine was
     186 violent crimes per 100,000 residents, less than one-third of Texas’s rate. The more discerning CV of the
     RMSPE is 0.06 for Texas (with a year of adoption discrepancy of only 3.6 percent), while for Maine, the CV is a dra-
     matically higher at 0.196 (with an initial year discrepancy of –37.9 percent). Accordingly, since the percentage
     imprecision in our synthetic pretreatment match for Maine is so much greater than for Texas, we have greater con-
     fidence in our estimates that in the 10th year, Texas’s RTC law had increased violent crime by 16.9 percent than
     we do in an estimate that Maine’s law had decreased violent crime by 16.5 percent.

     62
       Ando (2015) examines the impact of constructing nuclear plants on local real per capita taxable income in
     Japan by generating a synthetic control for every coastal municipality that installed a nuclear plant. Although the
     average treatment effect measured in our article differs from the one used by Ando, we follow Ando in repeatedly
     estimating average placebo effects by randomly selecting different areas to serve as placebo treatments. (The sheer
     number of treatments that we are considering in this analysis prevents us from limiting our placebo treatment
     analysis to states that never adopt RTC laws, but this simply means that our placebo estimates will likely be biased
     against finding a qualitatively significant effect of RTC laws on crime, since some of our placebo treatments will be
     capturing the effect of the passage of RTC laws on crime rates.) Our estimated average treatment effect can then
     be compared to the distribution of average placebo treatment effects. Heersink and Peterson (2016) and Cavallo
     et al. (2013) also perform a similar randomization procedure to estimate the significance of their estimated aver-
     age treatment effects, although the randomization procedure in the latter paper differs from ours by restricting
     the timing of placebo treatments to the exact dates when actual treatments took place.




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       passage dates that we use in our analysis.63 For each of the 500 sets of randomly gener-
       ated RTC dates, we then use the synthetic control methodology and the DAW predictors
       to estimate synthetic controls for each of the 33 states whose randomly generated adop-
       tion year is between 1981 and 2010. We use these data to estimate the percentage differ-
       ence between each placebo treatment and its corresponding synthetic control during
       both the year of the treatment and each of the 10 posttreatment years (for which we have
       data) that follow it. Using the methodology described in notes 52 and 58, we then test
       whether the estimated treatment effect for each of the 10 posttreatment years is statisti-
       cally significant.
              To further assess the statistical significance of our results, we compare each of
       the 10 coefficient estimates in Table 5 with the distribution of the 500 average pla-
       cebo treatment effects that use the same crime rate, posttreatment year, and sample
       as the given estimate. To assist in this comparison process, we report a pseudo p value
       that is equal to the proportion of our placebo treatment effects whose absolute value
       is greater than the absolute value of the given estimated treatment effect. This pseudo
       p value provides another intuitive measure of whether our estimated average treatment
       effects are qualitatively large compared to the distribution of placebo effects. Our con-
       fidence that the treatment effect that we are measuring for RTC laws is real increases
       if our estimated treatment effect is greater than the vast majority of our estimated
       average placebo treatment effects. Examining our pseudo p values in Table 5, we see
       that our violent crime results are always statistically significant in comparison to the
       distribution of placebo coefficients at the 0.05 level eight years or more past RTC
       adoption.



       C. Synthetic Control Estimates Using LM’s Explanatory Variables

       In our Section III panel data analysis, we saw that RTC laws were associated with signifi-
       cantly higher rates of violent crime in the DAW model (Table 3), but not in the LM
       model (Table 4, Panel A). Under the synthetic controls approach, however, we find that
       the results are the same whether one uses the DAW or LM explanatory variables. This is
       necessarily true when one uses yearly lags in implementing the synthetic controls – see
       Kaul et al. (2016) -- but it is also true when we use three lags of the dependent variable in
       our synthetic control protocol, as shown in Table 6. The detrimental effects of RTC laws
       on violent crime rates are statistically significant at the 0.05 level starting three years after
       the passage of an RTC law, and appear to increase over time. The treatment effects asso-
       ciated with violent crime in Table 6 range from 9.6 percent in the seventh posttreatment
       year to 12.8 percent in the 10th posttreatment year. Remarkably, the DAW and LM syn-
       thetic control estimates of the impact of RTC laws on violent crime are nearly identical


       63
         More specifically, we randomly choose eight states to never pass RTC laws, six states to pass RTC laws before
       1981, 33 states to pass RTC laws between 1981 and 2010, and three states to pass their RTC laws between 2011 and
       2014. (Washington, DC is not included in the placebo analysis since it is excluded from our main analysis.) These
       figures were chosen to mirror the number of states in each of these categories in our actual data set.




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                        Table 6:    The Impact of RTC Laws on the Violent Crime Rate, LM covariates, Full Sample, 1977–2014
                                                         (1)          (2)          (3)          (4)          (5)           (6)          (7)             (8)            (9)            (10)

                        Average Normalized TEP         0.309        1.981        4.063*       5.211*       7.159**      6.981**      9.644***       11.160***      12.115***       12.794***
                                                       (1.318)      (1.646)      (2.192)      (2.572)      (2.887)      (3.319)      (3.016)        (3.680)        (3.857)         (3.200)
                        N                              33           33           33           33           33           33           33             31             31              31

                        NOTE: Standard errors in parentheses. Column numbers indicate post-passage year under consideration; N = number of states in sample. The synthetic controls method
                        is run using the non-nested option, and each year’s estimate and statistical significance is computed as explained in footnote 59. *p < 0.10; **p < 0.05; ***p < 0.01.




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       (compare Tables 6 and Appendix Table K1), and this is true even when we limit the sam-
       ple of states in the manner described above.64



       D. The Contributions of Donor States to the Synthetic Control Estimates: Evaluating Robustness

       One of the key elements of the synthetic control approach is its selection among plausi-
       ble control states. For each state adopting an RTC law in year X, the approach selects
       among states that do not have RTC laws through at least ten years after X, including
       never-adopting states. Appendix Figure D10 lists all the states that are eligible under this
       criterion to serve as synthetic controls for one or more of the 33 adopting states, and
       shows how often they are selected. The horizontal length of each bar tells us how much
       that state contributes to our synthetic control violent crime estimates.65 As the figure indi-
       cates, Hawaii appears most frequently—contributing to a synthetic control 18 of the
       33 times it is eligible and averaging a 15.2 percent contribution—but California, a sub-
       stantial contributor to multiple large states, edges it out for the largest average contribu-
       tion (18.1 percent).
              Hawaii’s relatively large contribution as a donor state in the synthetic control esti-
       mates has some advantages but also raises concern that this small state might be unre-
       presentative of the states for which it is used as a control. For example, note that the
       largest share of Virginia’s synthetic control comes from Hawaii (27.9 percent), with
       Rhode Island, Kansas, and Nebraska making up the lion’s share of the remaining syn-
       thetic control. We had already mentioned one problem with the panel data analysis cau-
       sed by the tendency of lax gun control states to serve as a source for guns that contribute
       to crime in the non-RTC states, and Virginia has always been a major source of that inter-
       state flow. Since Virginia’s guns are not likely to end up in Hawaii, the bias that the treat-
       ment infects the control is reduced for that particular match. Nonetheless, one may be
       concerned that Hawaii might be unduly skewing the estimates of the impact of RTC laws
       on violent crime.
              To address this, as well as the analogous concern for other potentially idiosyn-
       cratic control states, we generated 18 additional TEP estimates, with each one gener-
       ated by dropping a single one of the 18 states that appears as an element of our
       synthetic control analysis (as identified in Appendix Figure D10). The results of this
       exercise are presented in Appendix Figure D12, which shows that our estimated
       increase in violent crime resulting from the adoption of an RTC law is extremely
       robust: All 18 estimates remain statistically significant at the 0.01 percent level, and


       64
         The 10th-year effect in the synthetic control analysis using the LM variables is 12.4 percent when we eliminate
       the three states with more than twice the average CV of the RMSPE. Knocking out the seven states with above-
       average values of this CV generates a similar 12.5 percent effect.

       65
         In particular, it reflects the portion of each synthetic state it becomes part of, weighted by the treated state’s pop-
       ulation. For example, Texas’s population is 13.6 percent of the total treated states’ population. As a result, a state
       that made up 50 percent of synthetic Texas (but is not a donor for any other treatment state) would have a bar of
       size 6.8 percent.




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     the smallest TEP, which comes from dropping Illinois as a control state, is 12.0 per-
     cent. Note in particular that dropping Hawaii from the list of potential donor states
     slightly increases the estimate of the increase in violent crime caused by RTC laws. In
     fact, when we dropped Hawaii completely as a potential control and repeated the pre-
     vious protocol of dropping one state at a time, the estimated increase in violent crime
     from RTC never fell below 12 percent (which was the value when New York was
     dropped as well as Hawaii). Indeed, the synthetic control finding that RTC laws
     increase violent crime is so robust that even if we drop California, New York, and
     Hawaii from the pool of potential donor states, RTC laws still increase violent crime
     by 8.9 percent after 10 years (p = 0.018).


     E. Does Gun Prevalence Influence the Impact of RTC Laws?

     The wide variation in the state-specific synthetic control estimates that was seen in
     Figures 7 and D11 suggests that there is considerable noise in some of the outlier esti-
     mates of a few individual states. For example, it is highly improbable that RTC laws led to
     a 16.5 percent decrease in violent crime in Maine and an 80.2 percent increase in violent
     crime in Montana, the two most extreme estimates seen in Figure 7. Since averaging
     across a substantial number of states will tend to eliminate the noise in the estimates, one
     should repose much greater confidence in the aggregated estimates than in any individ-
     ual state estimate. Indeed, the fact that we can average across 33 separate RTC-adopting
     states is what generates such convincing and robust estimates of the impact of RTC laws
     on violent crime.
            Another way to distill the signal from the noise in the state-specific estimates is to
     consider whether there is a plausible factor that could explain underlying differences in
     how RTC adoption influences violent crime. For example, RTC laws might influence
     crime differently depending on the level of gun prevalence in the state.
            Figure 8 shows the scatter diagram for 33 RTC-adopting states, and relates the esti-
     mated impact on violent crime to a measure of gun prevalence in each RTC-adopting state.
     The last line of the note below the figure provides the regression equation, which shows
     that gun prevalence is positively related to the estimated increase in crime (t = 2.39).66


     F. The Murder and Property Crime Assessments with Synthetic Controls

     The synthetic control estimates of the impact of RTC laws on violent crime uniformly
     generate statistically significant estimates, and our phantom RTC law synthetic control
     estimates for the five pretreatment years (described in note 58) give us confidence that
     the synthetic control approach is working well for our violent crime estimates, as illus-
     trated in Appendix Table L1. Since the estimated increases in violent crime are


     66
       The gun prevalence data were collected by the data analytics firm YouGov in a 2013 online survey (Kalesan et al.
     2016); 4,486 people were initially surveyed, although only 4,000 results are used in the final data set. YouGov used
     a proximity matching method to select the survey results for inclusion, matching respondents by race, age, gender,
     and education to the demographic breakdown of the 2010 American Community Survey.




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       Figure 8: The impact of gun ownership on the increase in violent crime due to RTC laws
       (synthetic control estimates, 1977−2014).




       NOTE: Treatment effect displayed is for the 10th year after RTC adoption (but 7th post−passage year for Kansas
       and Nebraska). Treatment Effect = −9.15 + 0.69 * Gun Prevalence. t = 2.39; R^2 = 0.16. Regression weighted by
       population in the final TEP year.




       statistically significant and consistently observed in both our panel data and synthetic
       control analyses, these represent our most robust finding.
               Just as we saw in the panel data analysis, the synthetic controls provide evidence of
       increases in the murder and firearm murder categories, but it is weaker and less precise
       than our violent crime estimates. For example, both Appendix Tables E1 and E2 show
       estimated crime increases of 8.7 percent (murder) and 15.3 percent (firearm murder),
       but only the 8.7 figure is statistically significant at the 0.10 level. Interestingly, our phan-
       tom law test works well for murder and even suggests statistically significant increases in
       that crime beginning right at the time of RTC adoption (Appendix Table L3). The fire-
       arm murder estimates perform less well in this test, generating an estimated fall in crime
       of 6.8 percent in the year prior to RTC adoption (Appendix Table L5).
               The results from implementing this phantom law approach for property crime are
       perhaps our less encouraging estimates. While our estimated “effect” in the year prior to
       adoption would ideally be close to zero in this test, for property crime it is 6.9 percent,
       with the latter significant at the 0.10 level. (The full results of this test for all the crime
       categories are shown in Appendix L.) If we accept our normalized estimate for the
       impact of RTC laws on property crime it would give little reason to reject a null hypothe-
       sis of no effect (Appendix Table E8). Because our synthetic control estimates for violent
       crime are validated by our phantom adoption test and generate uniform and highly




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     robust results whether dropping selected donor states or states with poor fit, or using
     either the DAW or LM models, we have greater confidence in and therefore highlight
     our violent crime estimates. Accordingly, we consign our further discussion of the syn-
     thetic control estimates of murder and property crime to Appendix E.



     VI. Conclusion
     The extensive array of panel data and synthetic control estimates of the impact of RTC
     laws that we present uniformly undermine the “More Guns, Less Crime” hypothesis.
     There is not even the slightest hint in the data from any econometrically sound regres-
     sion that RTC laws reduce violent crime. Indeed, the weight of the evidence from the
     panel data estimates as well as the synthetic control analysis best supports the view that
     the adoption of RTC laws substantially raises overall violent crime in the 10 years after
     adoption.
            In our initial panel data analysis, our preferred DAW specification predicted that
     RTC laws have led to statistically significant and substantial increases in violent crime. We
     also presented both panel data and synthetic control estimates that RTC laws substantially
     increase the percentage of robberies committed with a firearm, while having no
     restraining effect on the overall number of robberies. Moreover, to the extent the massive
     theft of guns from carrying guns outside the home generates crime spillovers to non-RTC
     states, our estimated increases in violent crime are downward biased.
            We then supplemented our panel data results using our synthetic control method-
     ology, and the finding from our panel data analysis was strongly buttressed. Whether we
     used the DAW or LM specifications, states that passed RTC laws experienced 13–15 per-
     cent higher aggregate violent crime rates than their synthetic controls after 10 years
     (results that were significant at either the 0.05 or 0.01 level after five years).
            The synthetic control effects that we measure represent meaningful increases in
     violent crime rates following the adoption of RTC laws, and this conclusion remained
     unchanged after restricting the set of states considered based on model fit and after con-
     sidering a large number of robustness checks. The consistency across different specifica-
     tions and methodologies of the finding that RTC elevates violent crime enables far
     stronger conclusions than were possible over a decade ago when the NRC Report was lim-
     ited to analyzing data only through 2000 with the single tool of panel data evaluation.
            The best available evidence using different statistical approaches—panel data
     regression and synthetic control—with varying strengths and shortcomings and with dif-
     ferent model specifications all suggest that the net effect of state adoption of RTC laws is
     a substantial increase in violent crime.


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              EXHIBIT 6
                                                                             AJPH RESEARCH
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Easiness of Legal Access to Concealed Firearm
Permits and Homicide Rates in the United States
Michael Siegel, MD, MPH, Ziming Xuan, ScD, SM, MA, Craig S. Ross, PhD, MBA, Sandro Galea, MD, DrPH, MPH, Bindu Kalesan, PhD,
MPH, MSc, Eric Fleegler, MD, MPH, and Kristin A. Goss, PhD, MPP


   Objectives. To examine the relation of “shall-issue” laws, in which permits must be issued                      states, law enforcement ofﬁcials may use their
if requisite criteria are met; “may-issue” laws, which give law enforcement ofﬁcials wide
                                                                                                                   judgment in making decisions about whether
                                                                                                                   to approve or deny a permit application,
discretion over whether to issue concealed ﬁrearm carry permits or not; and homicide rates.
                                                                                                                   whereas in shall-issue states, no judgment is
   Methods. We compared homicide rates in shall-issue and may-issue states and total,
                                                                                                                   involved—the application must be approved
ﬁrearm, nonﬁrearm, handgun, and long-gun homicide rates in all 50 states during the                                unless the applicant is categorically prohibited
25-year period of 1991 to 2015. We included year and state ﬁxed effects and numerous                               from concealed handgun possession. In
state-level factors in the analysis.                                                                               may-issue states, the element of discretion
   Results. Shall-issue laws were signiﬁcantly associated with 6.5% higher total homicide                          allotted to law enforcement is typically
rates, 8.6% higher ﬁrearm homicide rates, and 10.6% higher handgun homicide rates,                                 a judgment regarding the “suitability” or
but were not signiﬁcantly associated with long-gun or nonﬁrearm homicide.                                          “need” of a person to carry a concealed
  Conclusions. Shall-issue laws are associated with signiﬁcantly higher rates of total,                            weapon (Table 2). Law enforcement ofﬁcials
                                                                                                                   have a wide degree of latitude in making
ﬁrearm-related, and handgun-related homicide. (Am J Public Health. 2017;107:1923–
                                                                                                                   these judgments. In shall-issue states, the
1929. doi:10.2105/AJPH.2017.304057)
                                                                                                                   categorical prohibitions consist of a list of
                                                                                                                   speciﬁc criminal convictions.
      See also Donohue, p. 1864, and also Galea and Vaughan, p. 1867.                                                  Unfortunately, the existing literature on
                                                                                                                   the impact of concealed carry laws is in-

F    irearm violence is a major public health
     problem. In 2015, there were approxi-
mately 36 000 ﬁrearm-related deaths in the
                                                  enforcement ofﬁcials had wide discretion
                                                  over whether to issue concealed-carry per-
                                                  mits; these are referred to as “may-issue”
                                                                                                                   consistent. At least 10 national studies have
                                                                                                                   examined the relationship between shall-issue
                                                                                                                   concealed-carry laws and ﬁrearm-related or
United States; 13 463 were homicides, 22 018      states. In 32 states, there was little or no                     total homicide rates at the state level (Table A,
were suicides, and 489 were unintentional         discretion; these are referred to as “shall-issue”               available as a supplement to the online version
injuries.1 During the same year, 72.9% of         states because permits must be issued if req-                    of this article at http://www.ajph.org).3,6–14
homicides were ﬁrearm homicides1 and, of          uisite criteria are met. In an additional 9 states,              In 2 studies, shall-issue laws were found to
these, approximately 90% were committed           there was no permit necessary to carry a                         decrease homicide rates.3,6 In 2 studies, these
with a handgun. A central question in the         concealed handgun; these are referred to                         laws were found to increase homicide rates.7,8
debate about public policies to reduce ﬁrearm     as “permitless-carry” states. The wide varia-                    Six studies reported no clear impact of
violence is whether easier access to concealed
                                                  tion in these policies between states and over                   shall-issue laws on homicide rates.9–14 The
handguns increases or decreases the rate of
                                                  time presents the opportunity to compare                         inconsistency of these results has under-
ﬁrearm-related homicides.2 Some have ar-
                                                  homicide rates between states with varying                       standably created some confusion about what
gued that the feared or actual presence of
                                                  concealed-carry permitting policies to ex-                       approach is most effective to address the
armed citizens may deter violent crime.3
Others have suggested that a higher preva-
                                                  amine the impact of concealed-carry laws                         ﬁrearm violence problem.
lence of people carrying guns will increase the   on homicide.                                                         Most of the published literature on this
likelihood that an altercation results in a fa-       The critical difference between may-issue                    topic includes data that are more than a decade
tality.4 Thus, having a clear understanding       and shall-issue laws is that in may-issue                        old: the most recent year of data analyzed was
of the impact of concealed-carry laws on
ﬁrearm-related homicide would help guide          ABOUT THE AUTHORS
policymakers who are aiming to reduce             Michael Siegel, Ziming Xuan, Craig S. Ross, and Sandro Galea are with the Boston University School of Public Health,
                                                  Boston, MA. Bindu Kalesan is with the Boston University School of Medicine. Eric Fleegler is with Children’s Hospital Boston.
ﬁrearm violence.                                  Kristin A. Goss is with the Sanford School of Public Policy, Duke University, Durham, NC.
    As of the end of 2015, all states allowed        Correspondence should be sent to Michael Siegel, MD, MPH, Department of Community Health Sciences, Boston University
certain persons to carry concealed handguns,      School of Public Health, 801 Massachusetts Ave, Boston, MA 02118 (e-mail: mbsiegel@bu.edu). Reprints can be ordered at http://
                                                  www.ajph.org by clicking the “Reprints” link.
but there were 3 major variations in per-            This article was accepted August 1, 2017.
mitting policy5 (Table 1). In 9 states, law          doi: 10.2105/AJPH.2017.304057



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 TABLE 1—Concealed-Carry Permitting Laws and Age-Adjusted Firearm Homicide Rates by US
                                                                                                           2010, and only 3 of the 10 studies examined
 State, 2015, and Status of Laws During the Period of 1991 to 2015                                         data past the year 1998 (Table A, available as
                                                                                                           a supplement to the online version of this
                                 Age-Adjusted           Status of                                          article at http://www.ajph.org). Since 1998,
                              Firearm Homicide       Concealed-Carry                Effective Date of      11 additional states have enacted shall-issue
                                  Rate,a 2015        Permitting Law,               Current (as of 2015)    laws.5 This provides more variation over time
State                            (per 100 000)            2015                     Concealed-Carry Law
                                                                                                           and a longer follow-up period to examine
Hawaiib                              0.75            May issue                         Before 1991         this research question. Moreover, Ayres
New Hampshire                        0.96            Shall issue                       Before 1991         and Donohue15 and Hepburn et al.11 have
Rhode Island                         0.99            May issue                         Before 1991         suggested that the relationship between
Maine                                1.14            Shall issue                       Before 1991         concealed-carry laws and homicide rates may
                                                                                                           have been different during the period before
Massachusetts                        1.26            May issue                         Before 1991
                                                                                                           and after the early 1990s. In addition, studies
Utah                                 1.39            Shall issue                       1995                that included homicide rates from before
Idaho                                1.29            Shall issue                       Before 1991         1994 were examining a trend that was in-
Iowa                                 1.62            Shall issue                       Before 1991         creasing, whereas studies examining homi-
North Dakota                         1.69            Shall issue                       Before 1991         cide rates after 1994 were capturing declining
                                                                                                           trends. For these reasons, a reexamination
Vermont                              1.76            Permitless carry                  Before 1991
                                                                                                           of this research question with more recent
Minnesota                            1.77            Shall issue                       2003                data is needed.
South Dakota                         1.97            Shall issue                       Before 1991             One limitation of the existing literature is
New York                             2.07            May issue                         Before 1991         that no previously published research has
Wyoming                              2.16            Permitless carry                  2011c               examined the speciﬁc impact of concealed-
                                                                                                           carry laws on handgun versus long-gun ho-
Montana                              2.17            Shall issue                       Before 1991
                                                                                                           micide rates. This is important because if
Washington                           2.32            Shall issue                       Before 1991         such laws increase homicide by making it
Oregon                               2.35            Shall issue                       Before 1991         easier for people at high risk for violence to
Connecticut                          2.43            May issue                         Before 1991         carry handguns, this effect should only be
Colorado                             2.46            Shall issue                       2003
                                                                                                           observed in relation to handgun-related ho-
                                                                                                           micides, not homicides committed with long
Nebraska                             2.67            Shall issue                       2007
                                                                                                           guns. On the other hand, if permissive
West Virginia                        2.89            Shall issue                       Before 1991         concealed-carry laws deter crime by gener-
Wisconsin                            3.18            Shall issue                       2011                ating fear among potential perpetrators of
New Jersey                           3.22            May issue                         Before 1991         encountering an armed individual, then all
Virginia                             3.29            Shall issue                       1995
                                                                                                           crime including handgun, long-gun, and
                                                                                                           nonﬁrearm homicide should decrease.
Kansas                               3.35            Shall issue                       2007
                                                                                                               Another limitation of previous studies is
California                           3.52            May issue                         Before 1991         that nearly all of them used linear models.
Arizona                              3.56            Permitless carry                  2010c               However, homicide rates represent count
Kentucky                             3.96            Shall issue                       1996                data, and the distribution of homicide rates
Texas                                4.04            Shall issue                       1995
                                                                                                           across states is highly skewed16 (Figure A,
                                                                                                           available as a supplement to the online version
Pennsylvania                         4.34            Shall issue                       Before 1991
                                                                                                           of this article at http://www.ajph.org).
Ohio                                 4.38            Shall issue                       2004                Plassmann and Tideman argued that a count
Nevada                               4.49            Shall issue                       1995                model (such as a Poisson or negative binomial
North Carolina                       4.54            Shall issue                       1995                model) is the most reliable for analyzing
                                                                                                           crimes, such as homicides, with low occur-
Indiana                              4.61            Shall issue                       Before 1991
                                                                                                           rence rates.16 Beyond the Plassmann and
Florida                              4.66            Shall issue                       Before 1991
                                                                                                           Tideman study, only 1 other study11 used
Michigan                             4.74            Shall issue                       2001                a count model.
New Mexico                           4.79            Shall issue                       2001                    We examined the relationship between
Alaska                               5.22            Permitless carry                  2003c               shall-issue concealed-carry laws and total,
                                                                                                           ﬁrearm-related, and non–ﬁrearm-related
                                                                                               Continued   homicide rates, as well as handgun versus
                                                                                                           long-gun homicide rates across all 50 states


1924      Research   Peer Reviewed   Siegel et al.                                                                    AJPH   December 2017, Vol 107, No. 12
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  TABLE 1—Continued
                                                                                                                  Vital Statistics death registry maintained by
                                                                                                                  the National Center for Health Statistics,
                                Age-Adjusted                    Status of                                         which is based on standardized death certif-
                             Firearm Homicide                Concealed-Carry                Effective Date of     icates. The completeness of reporting is ap-
                                 Rate,a 2015                 Permitting Law,               Current (as of 2015)   proximately 99%.17 The CDC age-adjusted
State                           (per 100 000)                     2015                     Concealed-Carry Law
                                                                                                                  the rates to the 2000 standard population.
Arkansas                            5.34                     Shall issue                       1995                   The second outcome variable was the
Illinois                            5.45                     Shall issue                       2013               handgun or long-gun homicide rate,
Tennessee                           5.51                     Shall issue                       1994               obtained from the Federal Bureau of In-
Georgia                             5.73                     Shall issue                       Before 1991
                                                                                                                  vestigation’s Uniform Crime Reports, Sup-
                                                                                                                  plemental Homicide Reports (SHR).18
Oklahoma                            5.87                     Shall issue                       1995
                                                                                                                  Although WISQARS does provide mortality
Delaware                            6.12                     May issue                         Before 1991        data from International Classiﬁcation of Diseases,
South Carolina                      7.55                     Shall issue                       1996               Ninth Revision and Tenth Revision, codes
Maryland                            7.69                     May issue                         Before 1991        that can list handgun and long gun as the cause
Missouri                            7.92                     Shall issue                       2003
                                                                                                                  of death, unfortunately, most death certiﬁ-
                                                                                                                  cates involving a ﬁrearm homicide do not
Alabama                             8.43                     Shall issue                       2013
                                                                                                                  specify the type of weapon used. Therefore,
Mississippi                         9.11                     Shall issue                       1991               most ﬁrearm homicide deaths in WISQARS
Louisiana                           9.96                     Shall issue                       1996               are classiﬁed as “other and unspeciﬁed”
                                                                                                                  ﬁrearm, and it is not possible to use these data
Note. “May-issue” states are those in which law enforcement ofﬁcials had wide discretion over whether
to issue concealed-carry permits. “Shall-issue” states are those in which there was little or no discretion;      to disaggregate handgun and long-gun ho-
permits must be issued if requisite criteria are met. “Permitless-carry” states are those in which there was      micides.19 By contrast, the SHR is missing
no permit necessary to carry a concealed handgun.
a
                                                                                                                  data on the type of weapon used in ﬁrearm
  From Centers for Disease Control and Prevention (CDC).1
b
                                                                                                                  homicides in just 13.4% of cases. Thus, the
  Data for Hawaii are unavailable for the years 2010 to 2015 because the CDC’s Web-Based Injury
Statistics Query and Reporting Systems does not report homicide counts fewer than 10. The data here               SHR is the best, if not only, source for
are from 2009.                                                                                                    state-speciﬁc, ﬁrearm type–speciﬁc homicide
c
 Changed from “may issue” to “shall issue” in 1994.                                                               data.
                                                                                                                      The SHR disaggregates ﬁrearm homi-
                                                                                                                  cides into handgun, riﬂe, shotgun, and other
during the 25-year time period of 1991 to                modeled homicide rates in 2 ways: (1) using              (and unknown). We used the handgun
2015 with both count and linear regression               a negative binomial regression with homicide             deaths to generate handgun homicide rates
models. We examined the speciﬁcity of the                rates as the outcome variable and (2) using              and the sum of riﬂe, shotgun, and other gun
relationship between concealed-carry laws                linear regression with log-transformed ho-               deaths to generate long-gun homicide rates
and homicide rates by separately modeling                micide rates as the outcome variable. In both            for each state and year. Although SHR data
ﬁrearm versus nonﬁrearm homicide rates and               cases, we included year and state ﬁxed effects           may include listing of multiple weapons in
then within ﬁrearm-related homicides by                  and controlled for a range of time-varying,              an incident, only 1 weapon may be associ-
modeling handgun versus long-gun homicide                state-level factors.                                     ated with a homicide death.20 Because of
rates. We analyzed the relationship between                                                                       missing data on weapon type, we excluded
shall-issue concealed-carry laws and homicide                                                                     13.4% of ﬁrearm homicide cases in estima-
rates by using both a count and a linear re-             Variables and Data Sources                               ting handgun homicide rates. Nevertheless,
gression model, thus examining the robust-                  Outcome variables. The main outcome                   there was little discrepancy between the
ness of results to the type of model used.               variable was the age-adjusted ﬁrearm homi-               ﬁrearm homicide totals from WISQARS
                                                         cide rate in each year analyzed. For example,            and the SHR, which were correlated at
                                                         Missouri’s shall-issue law went into effect in           r = 0.98.
                                                         2003; thus, we analyzed homicide rates as-                   Because not all local law enforcement
                                                         sociated with Missouri’s shall-issue law for the         agencies complete the supplemental reports,
METHODS                                                  years 2004 to 2015. We obtained homicide                 the SHR data set excludes approximately
   We used a quasi-experimental panel de-                rates from the Centers for Disease Control               10% of all homicides.21 This problem was
sign, taking advantage of changes in state               and Prevention’s (CDC’s) Web-Based Injury                addressed by applying weights that adjusted
concealed-carry permitting laws over time, to            Statistics Query and Reporting Systems                   each state- and year-speciﬁc estimate up to
explore the relationship between these laws              (WISQARS) database.1 This is the ideal                   the overall number of homicides reported
and total, ﬁrearm-related, and non–ﬁrearm-               source for homicide data because there is                in the Uniform Crime Report for that state
related homicide rates in the 50 states                  complete annual reporting from all 50 states             and year. Fox kindly provided us with
over a 25-year period, 1991 to 2015. We                  and because the data are extracted from the              updated SHR ﬁles that added previously


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 TABLE 2—Elements of Discretion in Law Enforcement Decisions to Approve or Deny Concealed Handgun Carry Permits: “May-Issue” US States,
 2015

State                                                           Elements of Discretion                                                                 Citation
California              Applicant must be of “good moral character” and must have “good cause” for issuance of the license.             California Penal Code § 26150, § 26155
Connecticut             Applicant must intend only to make “legal use” of the handgun and must be a “suitable person to                 Connecticut General Statutes § 29-28
                         receive such permit.”
Delaware                Applicant must be “of good moral character,” must desire the handgun for “personal protection” or               Delaware Code § 1441
                         “protection of the person’s property,” and must submit signed, written statements of 5 “respectable
                         citizens” of the county who testify that the applicant is a person “of sobriety and good moral
                         character” and “bears a good reputation for peace and good order in the community” and that
                         a handgun is “necessary for the protection of the applicant or the applicant’s property.” The Superior
                         Court has discretion to approve or deny the application.
Hawaii                  Must be “an exceptional case,” the applicant must show “reason to fear injury to the applicant’s person         Hawaii Revised Statutes § 134-9
                         or property,” the applicant must be “a suitable person” to be licensed, and the chief of police must
                         determine that the person “is qualiﬁed to use the ﬁrearm in a safe manner.”
Maryland                Applicant must have a “good and substantial reason to wear, carry, or transport a handgun, such as              Maryland Public Safety Code § 5-306
                         a ﬁnding that the permit is necessary as a reasonable precaution against apprehended danger,” and
                         the applicant must not have “exhibited a propensity for violence or instability that may reasonably
                         render the person’s possession of a handgun a danger to the person or to another.”
Massachusetts           Applicant must be a “suitable” person and must not be judged to potentially create a risk to public             Massachusetts General Laws 140 § 131
                         safety.
New Jersey              Applicant must demonstrate a “justiﬁable need to carry a handgun” and must submit endorsements by               New Jersey Statutes § 2C:58–4
                         3 individuals who have known the applicant for at least 3 years that the applicant is “a person of good
                         moral character and behavior.”
New York                Applicant must be “of good moral character,” must be “of good character, competency, and integrity,”            New York Penal Law § 400.00
                         and there must be no “good cause” for denial of the license.
Rhode Island            Applicant must have “good reason to fear an injury to his or her person or property” or have “any other         General Laws of Rhode Island § 11-47-11
                         proper reason” for carrying a handgun and must be a “suitable person to be so licensed.”

Note. “May-issue” states are those in which law enforcement ofﬁcials had wide discretion over whether to issue concealed-carry permits.


missing data for Florida and included data                  estimated the impact of shall-issue laws on                    (aged 18 to 29 years), proportion of men
through 2015.21                                             homicide rates. Because only 4 states had                      among young adults, proportion of the
   Main predictor variable. Using Thomson                   permitless-carry laws in place during the                      population living in urban areas, total pop-
Reuters Westlaw to access historical state                  study period, there were not enough ob-                        ulation, population density, per capita alcohol
statutes and session laws, we developed                     servations to allow any meaningful analyses                    consumption, the nonhomicide violent
a database indicating the presence or absence               of these laws. Therefore, we deleted state–                    crime rate (aggravated assault, robbery, and
of 100 provisions of ﬁrearm laws in each state              year observations in which a permitless-carry                  forcible rape), the poverty rate, unem-
over the 25-year period.5 We coded laws                     law was in effect.                                             ployment rate, median household income,
by the year they went into effect, regardless                   Control variables. We controlled for 12
                                                                                                                           per capita disposable income, incarceration
of the month of the effective date. However,                state-level factors that (1) were found in the
                                                                                                                           rate, and per capita number of law enforce-
in the analytic models, we lagged the state                 previous literature3,6–14 to be signiﬁcantly
                                                                                                                           ment ofﬁcers. Variable deﬁnitions and data
laws by 1 year, which ensured that all laws                 related to homicide rates and (2) were sig-
                                                                                                                           sources are provided in Table B, available as
were in effect during the year in which their               niﬁcantly related to the presence of shall-issue
impact was being assessed. Following Lott                   laws in our data set (i.e., the regression co-                 a supplement to the online version of this
and Mustard,22 we assessed the impact of                    efﬁcient for the variable was signiﬁcant at                    article at http://www.ajph.org. We also
laws starting in the ﬁrst full year they were in            a level of P = .05 in a logistic regression with               controlled for the following state ﬁrearm laws
effect.                                                     shall-issue law as the dependent variable):                    that could serve as alternative explanations for
    We examined the potential impact                        household ﬁrearm ownership (using the                          changes in homicide during the study period:
of shall-issue laws, comparing them to                      standard proxy, which is the percentage of                     (1) universal background checks required for
may-issue laws. In other words, using the                   all suicides committed with a ﬁrearm), pro-                    all handgun purchases, (2) waiting periods
may-issue states as the reference group, we                 portion of Blacks, proportion of young adults                  required for all handgun purchases, and (3)


1926     Research   Peer Reviewed     Siegel et al.                                                                                   AJPH    December 2017, Vol 107, No. 12
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permits required to purchase or possess                We evaluated the signiﬁcance of regres-           association between shall-issue laws and
ﬁrearms.                                               sion coefﬁcients by using a Wald test at          nonﬁrearm homicide rates (IRR = 1.014;
                                                       a = 0.05.                                         95% CI = 0.963, 1.068). Further disaggre-
                                                          We checked the robustness of our results       gation within ﬁrearm homicides showed that
Analysis                                               by conducting several sensitivity analyses,       the association between shall-issue laws
   Count models. Because homicide rates are            including                                         and ﬁrearm homicide rates was speciﬁc to
not normally distributed but skewed and                                                                  handgun homicide. Shall-issue states had
overdispersed, we modeled this outcome by              1. Restricting the analysis to the 23 states      handgun homicide rates that were 10.6%
using a negative binomial distribution. To                in which shall-issue laws were adopted         higher (IRR = 1.106; 95% CI = 1.039,
control for clustering in our data by year (25            during the study period,                       1.177), but there was no signiﬁcant associ-
levels) and by state (50 levels), we entered year      2. Using raw count data instead of homicide       ation with long-gun homicide rates (IRR =
and state as ﬁxed effects in the regression               rates,                                         0.999; 95% CI = 0.915, 1.090).
models. We used robust standard errors that            3. Restricting the analysis to states with            The results of the linear regression ana-
account for the clustering of observations,               population greater than 1 000 000,             lyses were similar. Here, shall-issue laws
serial autocorrelation, and heteroskedasticity.23      4. Restricting the analysis to the period 1991    were signiﬁcantly associated with 6.6%
    Our ﬁnal model was as follows:                        to 2002,                                       higher total homicide rates compared with
                                                       5. Restricting the analysis to the period 2003    may-issue states (95% CI = 3.0%, 10.4%; data
                                                       to 2015, and                                   not shown). The association was speciﬁc to
      ð1Þ Pr H st ¼ hst Þ ¼ C yst þ a1 Þ=
                                                     6. Using SHR instead of WISQARS ho-               ﬁrearm homicide rates, which were 11.7%
            C ðyst þ 1ÞCa1 ½1=                          micide data (thus avoiding the problem of      higher in “shall issue” states (95% CI = 6.4%,
                        h                yst
        ð1 þ a mst Þ1 a mst = a1 þ mit Þ ;              missing data for some smaller states after     17.2%); there was no signiﬁcant association
                                                          1998).                                         between these laws and nonﬁrearm homi-
                                                                                                         cide rates. Further disaggregation within
where Pr ðHst ¼ hst Þ is the probability that                                                            ﬁrearm homicides showed that the associa-
state s in year t has a homicide rate equal to hst ,                                                     tion between shall-issue laws and ﬁrearm
E ðHst Þ ¼ mst , and Var ðHst Þ ¼ mst þ m2 st .        RESULTS                                           homicide rates was speciﬁc to handgun
    The mean homicide rate was then mod-                   During the study period, 23 states adopted    homicide. Shall-issue states had handgun
eled as follows:                                       shall-issue laws (Table 1). By 2015, 37 states    homicide rates that were 19.8% higher (95%
                                                       had such laws. In the same year, the average      CI = 10.3%, 30.1%), but rates of long-gun
            lnðmst Þ ¼ a þ b1 CCst þ                   ﬁrearm homicide rate in the states with           homicide were not signiﬁcantly different in
      ð2Þ
                      b2 Cst þ S þ T þ e;              shall-issue laws was 4.11 per 100 000, com-       states with shall-issue compared with may-
                                                       pared with 3.41 per 100 000 in the may-           issue laws.
where CC st is a dummy variable for the                issue states. The number of states that had           The signiﬁcant association between shall-
presence of a shall-issue law, C is a vector           permitless-carry laws in effect at all during     issue laws and higher total, ﬁrearm, and
of control variables, S represents state               the study period was small (n = 4), as was the    handgun-related homicide rates remained
ﬁxed effects, and T represents year ﬁxed               number of observations (n = 46), limiting our     when we restricted the analysis to the 23 states
effects.                                               ability to analyze the impact of these laws.      in which these laws were adopted during the
    The negative binomial regression co-               Because CDC does not report homicide              study period (Table 3). This pattern of results
efﬁcients are reported as incidence rate               counts of fewer than 10 in years after 1998, we   was robust to a series of additional sensitivity
ratios (IRRs). The IRR indicates the per-              were missing outcome data for several years       checks, including using raw count data,
centage difference in homicide rate for                for 6 states (Hawaii, New Hampshire, North        restricting the analysis to states with a pop-
states with a shall-issue concealed-carry              Dakota, South Dakota, Vermont, and                ulation of more than 1 000 000, restricting the
law compared with states with a may-issue              Wyoming); a sensitivity analysis with SHR         analysis to the period 1991 to 2002, restricting
law.                                                   data revealed that these omissions do not         the analysis to the period 2003 to 2015, and
   Linear models. To check the robustness of           affect our ﬁndings.                               using SHR instead of WISQARS homicide
our ﬁndings, we repeated the analyses with                 In negative binomial regression models,       data.
a linear regression model, with the log-               shall-issue concealed-carry permitting laws
transformed homicide rate as the outcome               were signiﬁcantly associated with 6.5%
variable, again by using robust standard er-           higher total homicide rates compared with
rors.23 As with the negative binomial models,          may-issue states (IRR = 1.065; 95% conﬁ-          DISCUSSION
we included year and state ﬁxed effects, and           dence interval [CI] = 1.032, 1.099; Table 3).        To the best of our knowledge, this is the
we included the same state-level control               The association was speciﬁc to ﬁrearm ho-         ﬁrst study to examine the relationship be-
variables.                                             micide rates, which were 8.6% higher              tween concealed-carry permitting laws and
    We conducted analyses with Stata version           in shall-issue states (IRR = 1.086; 95%           handgun-speciﬁc homicide rates. We found
14.1 (StataCorp LP, College Station, TX).              CI = 1.047, 1.126). There was no signiﬁcant       that, when we used both count and linear


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models and after we controlled for a range of                (2003–2015) compared with the ﬁrst half          such as this one. In particular, these results
time-varying state factors and for unobserved                (1991–2002).                                     should be interpreted with caution because
time-invariant state factors by using a                         Our ﬁnding that the association between       of the possibility that they reﬂect a reverse
ﬁxed-effects model, shall-issue concealed-                   shall-issue laws and homicide rates is speciﬁc   association. That is, it is possible that the
carry permitting laws were signiﬁcantly as-                  to handgun homicides adds plausibility to the    adoption of shall-issue concealed carry laws is
sociated with 6.5% higher total homicide                     observed relationship. If the relationship       associated with higher baseline homicide rates
rates, 8.6% higher ﬁrearm-related homicide                   between shall-issue laws and homicide rates      so that we are picking up not a causal effect
rates, and 10.6% higher handgun-speciﬁc                      were spurious, one might expect to see the       of these laws on homicide but a systematic
homicide rates compared with may-issue                       relationship hold for long-gun as well as        difference in baseline homicide rates between
states.                                                      handgun homicide rates. Moreover, this           states that do or do not have these laws.
    A major reason for inconsistent results                  ﬁnding is inconsistent with the hypothesis       However, our ﬁndings hold even when the
in the existing literature on the effects of                 that permissive concealed-carry laws deter       analysis is restricted to states that started with
concealed-carry laws may be that the re-                     crime by increasing the presence of armed        may-issue laws at the beginning of the study
lationship between concealed-carry laws and                  individuals. Were that the case, one would       period and adopted shall-issue laws during
homicide rates was different during the period               expect to see lower handgun, nonhandgun,         the study period.
before and after the early 1990s.11,15 It is                 and nonﬁrearm homicide rates in shall-issue          An additional limitation of this study is that
possible that despite the enactment of early                 compared with may-issue states. The lack of      we could not consider the enforcement of
shall-issue laws in the 1970s and 1980s, the                 an association between shall-issue laws and      concealed-carry laws.26 Enforcement of these
demand for handgun permits in those states                   long-gun homicide rates is also inconsistent     laws may vary not only among states, but also
was modest. There has been a striking increase               with the hypothesis that the presence of more    among counties in the same state.11 In ad-
in the demand for pistols, especially those                  concealed weapons escalates the level of vi-     dition, we did not have information on the
designed for concealed carry, during the past                olence in encounters that may involve a long     number of concealed-carry permits issued
decade.24 Recently, Steidley found that the                  gun.                                             in each state or the number of homicides
adoption of shall-issue laws during the period                                                                committed by concealed-carry permittees.
1999 to 2013 was associated with a persistent,                                                                    It is also important to note that we ex-
long-term increase in handgun sales in all 7                 Strengths and Limitations                        amined only fatal ﬁrearm injuries. Further
states studied.25 Our analysis provides further                 This study has several novel strengths,       research should investigate potential effects of
support for the hypothesis that the relation-                including the use of both count and linear       concealed-carry laws on nonfatal ﬁrearm
ship between shall-issue laws and higher                     models, the use of recent data (through 2015),   injuries.
homicide rates increased over time, as the                   and the disaggregation of homicide rates.            Finally, we were unable to analyze the
regression coefﬁcients for these laws was                    Nevertheless, caution should be exercised in     impact of permitless-carry laws because of the
higher for the second half of the study period               assessing causality from an ecological study     small number of observations. Only 4 states

 TABLE 3—Sensitivity Analyses of Relationship Between “Shall-Issue” Concealed-Carry Permitting Laws and Homicide Rates: United States,
 1991–2015

                                                                                                          Homicide Rate, IRR (95% CI)
Type of Analysis                                                                      Total                         Firearm                            Handgun
Main analysis                                                                  1.065 (1.032, 1.099)           1.086 (1.047, 1.126)                1.106 (1.039, 1.177)
Analysis restricted to states that adopted shall-issue concealed-              1.063 (1.028, 1.099)           1.068 (1.030, 1.108)                1.074 (1.002, 1.150)
 carry laws during study period
Analysis using raw count of homicides with population as the                   1.051 (1.020, 1.083)           1.079 (1.039, 1.120)                1.139 (1.067, 1.217)
 exposure variable
Analysis restricted to states with population > 1 million                      1.055 (1.023, 1.087)           1.067 (1.030, 1.105)                1.095 (1.029, 1.166)
Analysis restricted to years before 2003 (1991–2002)                           1.058 (1.014, 1.104)           1.067 (1.019, 1.116)                1.107 (1.037, 1.180)
Analysis restricted to years after 2002 (2003–2015)                            1.064 (1.009, 1.122)           1.100 (1.028, 1.176)                1.274 (1.092, 1.488)
Analysis using Supplemental Homicide Report data instead of Vital              1.044 (1.006, 1.083)           1.094 (1.047, 1.143)                1.106 (1.039, 1.177)
 Statistics data

Note. “Shall-issue” states are those in which there was little or no discretion; permits must be issued if requisite criteria are met. CI = conﬁdence interval;
IRR = incidence rate ratio. All models include year and state ﬁxed effects and control for the following time-varying, state-level factors: household gun-
ownership levels, proportion of young men, proportion of young adults, proportion of Blacks, proportion living in an urban area, total population, population
density, median household income, poverty rate, unemployment rate, per capita disposable income, per capita alcohol consumption, violent crime rate,
incarceration rate, per capita law enforcement ofﬁcers, universal background check laws for all handguns, waiting periods for all handguns, and permits
required for all ﬁrearms.



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